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                  EXHIBIT 1




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              CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

        This Class Action Settlement Agreement and Release (the “Agreement”) is entered into by
 and between Plaintiff David Martin, (“Class Plaintiff”), on behalf of himself and the Settlement
 Class (as defined below), on the one hand, and Defendant Global Tel*Link Corporation (“GTL”),
 on the other hand. The Class Plaintiff and GTL shall sometimes be collectively referred to herein
 as the “Parties.”
        Class Plaintiff, Class Counsel (as defined below) and GTL hereby stipulate and agree that,
 in consideration of the promises and covenants set forth in this Agreement and upon entry by the
 Court (as defined below) of a Final Approval Order (as defined below), all claims of Class Plaintiff
 and the Settlement Class Members (as defined below) in the action entitled Martin v. Global
 Tel*Link Corporation, United States District Court for the Central District of California, Case No.
 2:15-cv-03464, consolidated into Case No. 2:15-cv-02495 (“the Action”), shall be forever and
 fully settled, compromised and released upon the terms and conditions contained herein.
 1.     RECITALS
        1.1     On December 5, 2014, Class Plaintiff initiated the Action by filing a complaint in
 the United States District Court for the Southern District of California entitled Martin v. Global
 Tel*Link Corporation., No. 3:14-cv-02877, alleging that GTL violated the Telephone Consumer
 Protection Act, 47 U.S.C. § 227 (the “TCPA”) by using an automatic telephone dialing system and
 a prerecorded voice to place calls to cellular telephone numbers without the prior express consent
 of Martin or the putative class members. On January 29, 2015, the Southern District of California
 transferred the Action to the Northern District of California, which assigned Case No.
 4:15-cv-00449. On May 6, 2015, the Northern District of California transferred the Action to the
 Central District of California (“the Court”), which assigned Case No. 2:15-cv-03464. On June 10,
 2015, the Court consolidated the Action with Lee v. Global Tel*Link Corporation, Case No.
 2:15-cv-02495, ordering that all papers in the Action shall be filed only in the low-number case
 numbered 2:15-cv-02495-ODW-PLA, and that case number 2:15-cv-03464-ODW-FFM was


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 placed in inactive status. On October 25, 2016, the Court dismissed the Action with prejudice as
 between plaintiff Alice Lee and defendant GTL only, and, accordingly, Alice Lee is not a party to
 this Agreement.
         1.2    GTL denies all material allegations of the operative complaint and prior complaints
 in the Action. GTL believes the claims asserted against it in the Action are without merit, believes
 that GTL has complete defenses thereto, and further contends that a class could not be certified in
 this case for purposes of litigation if class certification were sought by Class Plaintiff and opposed
 by GTL.
         1.3    The Parties recognize and acknowledge the expense and length of continued
 proceedings necessary to prosecute the claims through trial, possible appeals and ancillary actions.
 The Parties also have taken into account the uncertain outcome and the risk of any litigation,
 especially in multi-party actions such as this proceeding, as well as the difficulties and delays
 inherent in such litigation. The parties reached this Agreement only after extensive motion
 practice, discovery, analysis of the relevant legal issues in regard to the claims and defenses
 asserted in the Action, and analysis of call data by the parties’ respective proffered expert
 witnesses.
         1.4    This Agreement resulted from and is the product of extensive, good faith and arm’s
 length settlement negotiations over many months, including telephonic and in-person negotiations.

 The Parties participated in private mediation before the Honorable Carl J. West (Ret.) of Judicial
 Arbitration and Mediation Services, Inc. (“JAMS”) on October 24, 2016, which mediation
 continued thereafter several weeks until this settlement was reached by the parties on November
 11, 2016. Prior to the mediation, the Parties submitted detailed mediation submissions to Judge
 West setting forth their respective views as to the relevant issues, strengths, and weaknesses in the
 case.
         1.5    Subject to preliminary approval and final approval by the Court as required by Rule
 23 of the Federal Rules of Civil Procedure, and subject to the remaining provisions herein, it is


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 now the intention of the Parties and the objective of this Agreement to fully and completely and
 forever settle and resolve all existing disputes and claims in the Action, as set forth herein.
        1.6     The Parties understand, acknowledge and agree that the execution of this
 Agreement constitutes the settlement and compromise of disputed claims. This Agreement is
 inadmissible as evidence in the Action except to enforce the terms of the Agreement and is not an
 admission of wrongdoing or liability on the part of any Party to this Agreement. The Parties desire
 and intend to effect a full, complete and final settlement and resolution of all existing disputes and
 claims as set forth herein.
        1.7     NOW THEREFORE, it is hereby agreed by the Parties that, in consideration of
 the promises and covenants set forth in this Agreement and upon the entry by the Court of a final
 order approving the settlement and directing the implementation of the terms and conditions of the
 settlement as set forth in this Agreement, the Action, including the claims asserted by Class
 Plaintiff, individually and on behalf of the Settlement Class Members, shall be settled and
 compromised upon the terms and conditions contained herein.
 2.     DEFINITIONS
        The definitions contained herein shall apply only to this Agreement and the attached
 Exhibits, and shall not apply to any other agreement, including, without limitation, any other
 settlement agreement. Nor shall they be used as evidence, except with respect to this Agreement,

 of the meaning of any term. Furthermore, each defined term stated in a singular form shall include
 the plural form, and each defined term stated in a plural form shall include the singular form. As
 used in this Agreement, in addition to any definitions elsewhere in this Agreement, the following
 terms shall have the meanings set forth below:
        2.1     “Action” means the pending action styled Martin v. Global Tel*Link Corporation,
 United States District Court for the Central District of California, Case No. 2:15-cv-03464,
 consolidated into Case No. 2:15-cv-02495.
        2.2     “Agreement” means this Class Action Settlement Agreement and Release.


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        2.3     “Approved Claims” means claims that have been timely submitted by class
 members to the administrator and approved for payment.
        2.4     “CAFA Notice” refers to the notice requirements imposed by 28 U.S.C. § 1715(b).
        2.5     “Claim Form” or “Claim” means the claim form to be submitted by Settlement
 Class Members in order to receive a Settlement Award pursuant to Sections 10 through12 of this
 Agreement, subject to approval by the Court, substantially in the form attached hereto as Exhibit 1.
        2.6     “Claim Period” means the period of time in which a Settlement Class Member
 must submit a Claim Form to be eligible to receive a Settlement Award as part of the Settlement.
 As set forth in Section 8.1(H), the last day of the Claim Period will be sixty (60) days following the
 Notice Deadline.
        2.7     “Claims Administrator” means Kurtzman Carson Consultants (KCC), subject to
 approval by the Court. The Claims Administrator shall be responsible for providing the Class
 Notice as well as services related to administration of the Settlement.
        2.8     “Class Counsel” means Keogh Law, Ltd. and Lester & Associates.
        2.9     “Class Notice” means any type of notice that may be utilized to notify persons in
 the Class of the Settlement, including one or more of the following methods: E-Mail Notice, Mail
 Notice, Website Notice, internet publication notice as set forth in Section 10.2(A) of and Exhibit 6
 to this Agreement, and any different or additional notice that might be ordered by the Court. A

 description of the contemplated Class Notice is provided in Section 10.2 of this Agreement.
        2.10    “Class Period” means the period from December 5, 2010 through the date of entry
 of the Preliminary Approval Order (as defined below).
        2.11    “Class Representative” means Plaintiff David Martin.
        2.12    “Court” means the United States District Court for the Central District of
 California.
        2.13    “Cy Pres Distribution” means monies that may be distributed in connection with
 the Settlement pursuant to Section 12.3 of this Agreement. CyPres will only be distributed for


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 uncashed or undeposited checks and only then if a second distribution to those eligible Settlement
 Class Members is not feasible pursuant to Section 12.2 of this Agreement.
          2.14   “GTL” means collectively Defendant Global Tel*Link Corporation and its
 subsidiaries and/or parent companies.
          2.15   “GTL’s Counsel” means Greenberg Traurig, LLP.
          2.16   “Effective Date” means the fifth (5th) business day after the last of the following
 dates:
                 (A)    All Parties, GTL’s Counsel and Class Counsel have executed this
                        Agreement;

                 (B)    The Court has entered the Final Approval Order; and

                 (C)    The final disposition of any appeals or requests for review of the Final
                        Approval Order, or in the case of no appeals or requests for review being
                        filed, thirty (30) days after entry of the Final Approval Order

          2.17   “Escrow Account” means a non-interest bearing checking account established at a
 financial institution other than GTL into which monies shall be deposited as set forth by this
 Agreement.
          2.18   “Failed Inmate Call Attempt” means a telephone call attempted by an inmate or
 prisoner through GTL’s service to a phone number for which GTL had no billing relationship and
 therefore no means to bill the call to the called party.
          2.19   “Final Approval Hearing” means the hearing during which the Court considers
 the Parties’ request to enter the Final Approval Order granting final approval of the Settlement and
 to determine the amount of fees, costs and expenses awarded to Class Counsel and the amount of
 the service award to Class Plaintiff.
          2.20   “Final Approval Order” means an order and judgment that the Court enters upon
 finally approving the Settlement that is substantially in the form of Exhibit 2 attached hereto.
 “Final Approval” occurs on the date that the Court enters the Final Approval Order.




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        2.21    “Funding Date” means the date, which is no later than seven (7) business days
 after the Effective Date, on which GTL shall cause payment to be made into the Settlement Fund
 account pursuant to Section 9.1 of this Agreement.
        2.22    “Judge” shall mean any judge of the United States District Court for the Central
 District of California, including the Honorable Otis D. Wright II.
        2.23    “Mandatory Payment” means an all-inclusive payment of EIGHT MILLION,
 EIGHT HUNDRED THOUSAND DOLLARS ($8,800,000) which shall be made by GTL to
 resolve this litigation. As set forth in this Agreement, the “Mandatory Payment” shall be used for
 Settlement Costs, including any and all administration expenses, any cost associated with class
 notice, including mailing costs, taxes and tax-related expenses incurred by or in connection with
 the creation of the Settlement Fund, any attorneys’ fees and costs awarded to Class Counsel by the
 Court, any incentive award ordered by the Court to be paid to the Class Representative, and all
 amounts to be paid to Settlement Class Members under this Agreement. Under no circumstances
 shall GTL or the Released Parties be required to pay any amount in excess of the EIGHT
 MILLION, EIGHT HUNDRED THOUSAND DOLLARDS ($8,800,000) Mandatory Payment in
 order to resolve the Action.
        2.24    “Notice” means the notice that will be provided pursuant to Section 10.2(A) of this
 Agreement to the Settlement Class Members, subject to approval by the Court, substantially in the

 form attached hereto as Exhibit 3.
        2.25    “Notice Deadline” shall have the meaning set forth in Section8.1(D) of this
 Agreement.
        2.26 “Notification Call” means a call (i) placed by or on behalf of GTL, (ii) to a number
 attempted in a Failed Inmate Call Attempt, (iii) using a prerecorded voice message, (iv) to explain
 in sum and substance that inmate calls could not be completed and/or billed, and that the called
 party could take certain steps to arrange for billing and/or setup a prepaid account. For example, a
 prerecorded message for a Notification Call could take substantially the following form:


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          “This is an important message from GTL about calls from an offender at a correctional
          facility. Para escuchar este mensaje en espanol, oprima el numero uno. Your telephone
          service provider is unable to bill you for these calls. If you wish to receive these calls, you
          must contact us at 1- 877-650-4249 to arrange for billing. To hear these instructions again,
          press 1. To end this call, please hang up.”
          2.27   “Opt-Out and Objection Deadline” shall have the meaning set forth in Sections
 8.1(F), and 13.1 of this Agreement.
          2.28   “Parties” means Class Plaintiff and GTL.
          2.29   “Preliminary Approval Order” means an order that the Court enters upon
 preliminarily approving the Settlement that is substantially in the form of Exhibit 4 attached
 hereto. “Preliminary Approval” occurs on the date that the Court enters the Preliminary Approval
 Order.
          2.30   “Released Claims” means all claims to be released as set forth in Section 17 of this
 Agreement. The “Releases” means all of the releases contained in Section 17 of this Agreement.
          2.31   “Released Parties” means and refers to the Defendant Global Tel*Link
 Corporation and each and all of subsidiaries, parent companies, agents, vendors (including
 inContact, Inc.), predecessors in interest and/or ownership, successors in interest and/or
 ownership, partners, licensees, assignees, insurers, including claims under any and all insurance
 policies, and estates, and each of the foregoing’s respective past, present, and future officers,
 directors, attorneys, shareholders, indemnitees, predecessors, successors, trusts, trustees, partners,

 associates, principals, divisions, employees, insurers, any and all insurance policies, members,
 agents, representatives, brokers, consultants, heirs, and assigns.
          2.32   “Releasing Parties” means the Class Plaintiff and Settlement Class Members, on
 behalf of themselves and their respective spouses, heirs, executors, administrators, representatives,
 agents, attorneys, partners, successors, predecessors-in-interest, assigns, any other person or entity
 claiming through them and, if relevant, any co-signer, co-buyer or co-borrower or guarantors.
          2.33   “Settlement Class” means all persons using and/or subscribing to a mobile
 telephone number to which a Notification Call was placed during the Class Period. Excluded from



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 the Settlement Class are the Judge to whom the Action is assigned and any member of the Court’s
 staff and immediate family, and all persons who are validly excluded from the Settlement Class.
        2.33(A) “Settlement Class List” means the list of approximately 1,800,000 unique
 telephone numbers that, based on records reasonably available to GTL, appear to meet the
 Settlement Class definition.
        2.34    “Settlement Class Member” means any person in the Settlement Class who does
 not timely and validly request exclusion from the Settlement Class, except that any person who
 submits a Claim Form or an Objection and is unable to provide one of the following, (i) a valid
 Claim ID, (ii) a telephone number on the Settlement Class List or (iii) telephone records
 establishing receipt of a Notification Call, shall not be a Settlement Class Member. The Class
 Administrator shall make reasonable efforts to obtain a valid Claim ID, a telephone number on the
 Settlement Class List or telephone records establishing receipt of a Notification Call from any
 person who submits a Claim Form or an Objection, and shall confirm for the Parties whether the
 person was unable to submit such information.
        2.35    “Settlement” means the settlement into which the Parties have entered to resolve
 the Action. The terms of the Settlement are set forth in this Agreement and the attached exhibits,
 which are incorporated by reference herein.
        2.36    “Settlement Award” means a cash payment that may be available to eligible

 Settlement Class Members pursuant to Section 11 of this Agreement.
        2.37    “Settlement Costs” means all costs incurred in the litigation by the Class and their
 attorneys, as well as all costs of claims administration and administering the Settlement, and such
 costs shall include: (i) any award of attorneys’ fees and costs to Class Counsel approved by the
 Court; (ii) any incentive award to Class Plaintiff approved by the Court; (iii) all costs of providing
 notice to persons in the Settlement Class (including, but not limited to, costs for obtaining contact
 information for the Settlement Class via subpoena or otherwise), and costs for Notice, Website
 Notice, internet publication, and any different or additional notice that might be ordered by the
 Court); (iv) all costs of administering the Settlement, including, but not limited to, the cost of
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 printing and mailing Settlement Awards and other payments, Claim Forms, and the cost of
 maintaining a designated post office box and/or operating the Settlement Website for receiving
 Claim Forms; and (vi) the fees, expenses, and all other costs of the Claims Administrator.
        2.38    “Settlement Fund” means the amount of EIGHT MILLION, EIGHT HUNDRED
 THOUSAND DOLLARS ($8,800,000) to be paid by GTL as set forth in this Agreement.
        2.39    “Settlement Termination Date” means the date, if any, that any Party exercises
 its right to terminate this Agreement under the terms thereof.
        2.40    “Settlement Website” means the website established by the Claims Administrator
 to aid in the administration of the settlement.
        2.41    “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227, and any
 regulations or rulings promulgated under it.
        2.42    “Website Notice” means the website notice provided pursuant to Section 10.2(B)
 of this Agreement, substantially in the form attached hereto as Exhibit 5. The Website Notice will
 be posted on the “Settlement Website.”
        2.43    Capitalized terms used in this Agreement but not defined above shall have the
 meaning ascribed to them in this Agreement, including the attached exhibits.
 3.     SETTLEMENT PURPOSES ONLY
        3.1     General. This Agreement is made for the sole purpose of settlement of the Action,

 on a settlement class-wide basis, as well as the settlement of all related individual claims made by
 the Class Plaintiff. The settlement of the Action is expressly conditioned upon the entry of the
 Final Approval Order by the Court. In the event that the Court does not execute and file the Final
 Approval Order, or in the event the Order of Final Approval does not become final for any reason,
 or in the event that the Final Effective Date, as defined herein, does not occur, this Agreement shall
 be deemed null and void ab initio and shall be of no force and effect whatsoever, and shall not be
 referred to or utilized in the Action for any purpose whatsoever.
        3.2     GTL’s Position on Conditional Certification of the Settlement Class. GTL
 disputes that a class would be manageable or that common issues predominate over individual
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 ones, and denies that a litigation class properly could be certified on the claims asserted in the
 Action. However, solely for purposes of avoiding the expense and inconvenience of further
 litigation, GTL does not oppose and hereby agrees to certification of the Settlement Class defined
 in Section 2.33, for settlement purposes only, pursuant to Fed. R. Civ. P. 23(b)(3). Preliminary
 certification of the Settlement Class for settlement purposes shall not be deemed a concession that
 certification of a litigation class is appropriate, nor would GTL be precluded from challenging
 class certification in further proceedings in the Action or in any other action if the Settlement is not
 finalized or finally approved. If the Settlement is not finally approved by the Court for any reason
 whatsoever, the certification of the Settlement Class will be void, and no doctrine of waiver,
 estoppel or preclusion will be asserted in any proceedings involving GTL. No agreements made
 by or entered into by GTL in connection with the Settlement may be used by Class Plaintiff, any
 person in the Class, or any other persons to establish any of the elements of class certification in
 any litigated certification proceedings, whether in the Action or any other judicial proceeding.
         3.3     Admissibility. Additionally, this Agreement, any negotiations or proceedings
 related hereto, the implementation hereof, and any papers submitted in support of the motions for
 approval hereof (collectively, the “Settlement Proceedings”) shall not be construed as or deemed
 to be evidence of any admission or concession by any of the Parties or any other Person regarding
 liability, damages, or the appropriateness of class treatment, and shall not be offered or received in

 evidence in the Action for any purpose; provided, however, that this Agreement and the Settlement
 Proceedings may be presented to the Court in connection with the implementation or enforcement
 of this Agreement, or as may be necessary or appropriate to further the purposes sought to be
 achieved by this Agreement.
         3.4     Denial of Liability. By entering into this Agreement, it is understood that the
 Released Parties, including GTL, do not admit and, to the contrary, expressly deny that they have
 breached any duty, obligation, or agreement; that they have engaged in any illegal, tortious, or
 wrongful activity, deny that they are liable to Releasing Parties, including Class Plaintiff, any
 person in the Class or any other persons, and/or deny that any damages have been sustained by any
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 Releasing Parties in any way arising out of or relating to the conduct alleged in the Action. GTL
 expressly reserves all rights to challenge Releasing Parties’ claims on all factual and procedural
 grounds, including but not limited to the assertion of any and all defenses.
           3.5   Class Plaintiff’s Belief in the Merits of the Case. Class Plaintiff believes that the
 claims asserted in the Action have merit and that the evidence developed to date supports those
 claims. This Settlement shall in no event be construed or deemed to be evidence of or an
 admission or concession on the part of Class Plaintiff that there is any infirmity in the claims
 asserted by them, or that there is any merit whatsoever to any of the contentions and defenses that
 GTL has asserted.
           3.6   Class Plaintiff Recognizes the Benefit of Settlement.           The Class Plaintiff
 recognizes and acknowledges, however, the expense and amount of time which would be required
 to continue to pursue the Action against GTL, as well as the uncertainty, risk and difficulties of
 proof inherent in prosecuting such claims on behalf of the Settlement Class. Class Plaintiff and
 Class Counsel have concluded that it is desirable that the Action and any Released Claims be fully
 and finally settled and released as set forth in this Agreement. Class Plaintiff and Class Counsel
 believe that the agreement set forth in this Agreement confers substantial benefits upon the
 Settlement Class and that it is in the best interests of the Settlement Class to settle as described
 herein.

 4.        JURISDICTION
           4.1   The Parties agree that the Court has, and shall continue to have, jurisdiction to
 make any orders as may be appropriate to effectuate, consummate, and enforce the terms of this
 Agreement, to approve any awards of attorneys’ fees, costs, or incentive awards, and to supervise
 the administration of and the distribution of money funded pursuant to this Agreement.
 5.        PAYMENT TO THE SETTLEMENT CLASS MEMBERS
           5.1   Mandatory Payment to Settlement Class. GTL shall pay the total sum of EIGHT
 MILLION, EIGHT HUNDRED THOUSAND DOLLARS ($8,800,000) to settle the Action with
 the Settlement Class and obtain a release of all Released Claims in favor of all Released Parties as
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 set forth herein. The Mandatory Payment will be used to pay Approved Claims and any
 Settlement Costs. Settlement Class Members will be eligible for a cash payment, the amount of
 which is dependent upon the number of Approved Claims. In no event will GTL’s payment
 obligations exceed the Settlement Fund and in no event will any money revert back to GTL.
        5.2     Amount Paid Per Claim. The amount paid per Approved Claim shall be divided
 among the approved claimants on a pro rata basis from the amount remaining in the Settlement
 Fund after deducting the Settlement Costs from the Mandatory Payment.
 6.     ATTORNEYS’ FEES, COSTS AND PAYMENT TO CLASS REPRESENTATIVES
        6.1     Attorneys’ Fees and Costs. Class Counsel shall move the Court for an award of
 attorneys’ fees and expenses paid from the Settlement Fund. The amount of attorneys’ fees and
 costs approved by the Court shall be paid from the Settlement Fund, and from no other source.
 Within five (5) days of the Funding Date, the Claims Administrator shall pay to Class Counsel the
 amount of attorneys’ fees, costs and expenses awarded to Class Counsel by the Court, as directed
 by written instructions from Class Counsel. Court approval of attorneys’ fees and costs, or their
 amount, will not be a condition of Settlement. In addition, no interest will accrue on such amounts
 at any time.
        6.2     Payment to Class Representative. The Class Representative will also ask the
 Court to award him an incentive payment (in addition to any pro rata distribution he may receive

 under Section 5.2) for the time and effort he has personally invested in the Action. Within five (5)
 days of the Funding Date, the Claims Administrator shall pay to Class Counsel the amount of
 incentive payment awarded by the Court. Class Counsel shall thereafter disburse such funds. In
 addition, no interest will accrue on such amounts at any time. Any incentive payment shall come
 from the Settlement Fund and from no other source.
        6.3     Settlement Independent of Award of Fees and Incentive Payments. The
 payment of attorneys’ fees, costs and incentive payments set forth in Section 6.1 and 6.2 are
 subject to and dependent upon the Court’s approval. However, this Settlement is not dependent
 upon the Court’s approving Class Plaintiff’s requests for such payments or awarding the particular
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 amounts sought by Class Plaintiff. In the event the Court declines Class Plaintiff’s request or
 awards less than the amount sought, this Settlement shall continue to be effective and enforceable
 by the Parties.
 7.     CONDITIONS OF SETTLEMENT
        7.1        Performance of the obligations set forth in this Agreement is subject to all of the
 following material conditions:
                   (A)    Execution of this Agreement by GTL, Class Plaintiff, and Class Counsel.
                   (B)    Execution and filing by the Court of the Preliminary Approval Order.
                   (C)    Execution and filing by the Court of the Final Approval Order.
        7.2        The Parties hereby covenant and agree to cooperate reasonably and in good faith
 for the purpose of achieving occurrence of the conditions set forth above, including, without
 limitation, timely filing of all motions, papers and evidence necessary to do so, and refraining from
 causing or encouraging directly or indirectly any appeal or petition for writ proceedings by third
 parties seeking review of any Order contemplated by this Agreement.
 8.     PRELIMINARY APPROVAL OF THE SETTLEMENT
        8.1        Preliminary Approval Motion. As soon as practical after the execution of this
 Agreement, the Parties shall move the Court for entry of the Preliminary Approval Order in
 substantially the same form attached as Exhibit 4. Pursuant to the motion for preliminary

 approval, the Parties will request that:
                   (A)    The Court conditionally certify the Settlement Class for settlement
                          purposes only and appoint Class Counsel as counsel for the Class;
                   (B)    The Court preliminarily approve this Agreement and the Settlement
                          reflected herein as fair, adequate and reasonable to the Settlement Class;
                   (C)    The Court approve the form of Class Notice and find that the notice
                          program constitutes the best notice practicable under the circumstances,
                          provides due and sufficient notice to the Settlement Class and fully satisfies
                          the requirements of due process and Federal Rule of Civil Procedure 23;
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                (D)    The Court direct that notice be provided to the Settlement Class, in
                       accordance with this Agreement, within one hundred and twenty (120) days
                       following entry of the Preliminary Approval Order, unless extended by the
                       Court (the “Notice Deadline”);
                (E)    The Court establish a procedure for any class members to object to the
                       Settlement or exclude themselves from either class;
                (F)    The Court set a deadline sixty (60) days after the Notice Deadline, after
                       which no one shall be allowed to object to the Settlement or exclude himself
                       or herself or seek to intervene (the “Opt-Out and Objection Deadline”);
                (G)    The Court approve the Claim Form and the claims process described herein
                       for the Settlement Class;
                (H)    The Court set the Claim Period for the submission of Claims to end sixty
                       (60) days after the Notice Deadline;
                (I)    The Court, pending determination of whether the Settlement should be
                       finally approved, bar and enjoin all persons in the Settlement Class,
                       individually, and on a representative basis or other capacity, from
                       commencing or prosecuting against any of the Released Parties any action,
                       arbitration, or proceeding in any court, arbitration forum or tribunal

                       asserting any of the Released Claims unless they timely opt-out;
                (J)    The Court schedule a Final Approval Hearing no earlier than twenty-eight
                       (28) days after the filing of the final approval motion pursuant to Section
                       14.1.
        8.2     Bar of Proceedings. Pending determination of whether the Settlement should be
 granted Final Approval, the Parties agree not to pursue any claims or defenses otherwise available
 to them in the Action, and no person in the Settlement Class or person acting or purporting to act
 directly or derivatively on behalf of a person may commence or prosecute against any of the
 Released Parties any action or proceeding asserting any of the Released Claims. The Preliminary
                                                                                            Exhibit 1
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 Approval Order will contain an injunction enjoining the prosecution of the Released Claims by
 any person unless and until after such person is validly excluded from the Settlement Class or is
 not a Settlement Class Member.
 9.     SETTLEMENT CONSIDERATION
        9.1     The Settlement Fund.         GTL will pay the total Settlement Fund of EIGHT
 MILLION, EIGHT HUNDRED THOUSAND DOLLARS ($8,800,000) to fully and completely
 settle all claims of Class Plaintiff and the Settlement Class Members. The Settlement Fund shall
 be used to make all payments pursuant to the Settlement including all Settlement Awards and the
 Settlement Costs. GTL shall deposit money into the Escrow Account as follows: (a) GTL shall
 advance the amounts necessary to pay for the Notice Program and settlement administration,
 which advances shall be credited against the Settlement Fund; and (b) GTL shall pay the balance
 of the Settlement Fund into the Escrow Account within seven (7) business days following the
 Effective Date. GTL shall not, under any circumstances or for any reason, be obligated to pay any
 amounts in addition to the Settlement Fund in connection with the Settlement.
        9.2     Prospective modifications to Notification Call practices. GTL expressly denies
 any allegations that its Notification Call practices violate the TCPA or do not comply with Federal
 Communications Commission rulings and orders. Notwithstanding the foregoing, as part of this
 Settlement, and except to the extent inconsistent with applicable law, GTL agrees to implement the

 following changes to its Notification Call practices:
        (A)     Notification Calls shall include an interactive-voice and/or key-activated opt-out
 mechanism that the called party may use to opt-out of future Notification Calls.
        (B)     Notification Calls shall include a toll-free number that the called party may call to
 opt out of future Notification Calls.
        (C)     When a called party exercises the opt-out from future Notification Calls, the
 opt-out will be effective to block all future Notification Calls, regardless of how many Failed
 Inmate Call Attempts occur in the future.


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        Class Plaintiff and Class Counsel, on behalf of themselves and the Settlement Class
 Members, confirm that these changes to the Notification Call practices are a material term of this
 settlement, are fundamental to the injunctive relief that Class Plaintiff sought in the Action against
 GTL, and are the modifications to Notification Call practices that Class Plaintiff asserted in the
 Action were necessary to comply with the TCPA and the Federal Communications Commission’s
 July 10, 2015 Declaratory Ruling and Order in In the Matter of Rules and Regulations
 Implementing the Telephone Consumer Protection Act of 1991, 30 FCC Rcd. 7961, CG Docket
 No. 02-278, WC Docket No. 07-132 (“July 10, 2015 Declaratory Ruling and Order”).
 10.    ADMINISTRATION AND NOTIFICATION PROCESS
        10.1    Claims Administrator and Settlement Class List. The Claims Administrator
 shall administer the Settlement. GTL will reasonably cooperate in the notice and administration
 process and shall provide the Settlement Class List to Class Counsel and the Claims Administrator,
 within seven (7) days of the execution of this agreement, on a confidential basis.
        (A)     Class Counsel will subpoena Verizon Wireless, T-Mobile, AT&T, Sprint, Virgin
 Mobile, Straight Talk Wireless, Boost Mobile, Metro PCS, Cricket, and U.S. Cellular for contact
 information missing from the Settlement Class List for the purpose of providing the best notice
 practicable to the Settlement Class. GTL agrees that it will not oppose, or cause or encourage,
 directly or indirectly, others to oppose the subpoenas. The Claims Administrator shall supplement

 the Settlement Class List with the contact information obtained from the subpoenas
 (“Supplemented Class List”).
        (B)     The Claims Administrator shall implement the Notice Program, as set forth in
 Section 10.2 of this Agreement.
        10.2    Settlement Class Notice Program For the Settlement Class.                 The Claims
 Administrator shall, by the Notice Deadline, provide:
               (A)      Notice. The Claims Administrator shall provide individual notice via
                        e-mail for any e-mail addresses in the Supplemented Class List, and shall
                        send one reminder email thirty (30) days prior to the expiration of the Claim
                                                                                                Exhibit 1
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                  Period. The Class Administrator shall provide notice via postcard to
                  Settlement Class Members for whom no e-mail address appears in the
                  Supplemented Class List, and to Settlement Class Members to whom e-mail
                  notice was sent, but who did not open the e-mailed notice. Prior to sending
                  postcard notice, the Claims Administrator shall search for updated
                  addresses via the USPS national change of address database. The Claims
                  Administrator shall re-mail one time any postcards returned as
                  undeliverable and shall undertake reasonable means to locate alternative
                  addresses for the returned postcards. Notice shall contain a claim ID and
                  shall direct recipients to the Settlement Website.The Claims Administrator
                  shall further provide notice by arranging for internet publication, as set
                  forth in Exhibit 6 attached hereto.
            (B)   Website Notice. The Claims Administrator will establish and maintain the
                  Settlement Website dedicated to the Settlement, on which will be posted the
                  Website Notice, Claim Form, a copy of this Agreement, the Preliminary
                  Approval Order, the operative Complaint, and any other materials the
                  Parties agree to include.      These documents shall be available on the
                  Settlement Website beginning five (5) days following the entry of the

                  Preliminary Approval Order and remain until after the stale dates of any
                  Settlement Awards. The Settlement Administrator shall also post any
                  motions for attorneys’ fees, costs, or incentive awards in connection with
                  this Agreement on the Settlement Website within five (5) days following
                  the filing of such motion. The Settlement Website shall also provide for
                  online submission of Claim Forms and will also allow Settlement Class
                  Members to update their contact information. The Claims Administrator
                  shall secure the URL gtltcpasettlement.com for the Settlement Website, or,
                  if unavailable, shall secure another URL mutually agreed upon by the
                                                                                      Exhibit 1
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                       Parties. The Claims Administrator and Class Counsel shall provide GTL
                       with an adequate opportunity to review and comment on the text viewable
                       at or available via links from the Settlement Website (other than publicly
                       available documents available at or via such links) prior to the availability
                       for viewing of such Website or the posting of any such text on the Website
                       once the Website is available for viewing.
               (C)     800 Number/IVR/Telephone Claims. The Claims Administrator will
                       establish and maintain an 800 number that will answer questions
                       concerning this Agreement and allow Settlement Class Members to request
                       a written claim form or use their Claim ID to make a claim via telephone.
               (D)     CAFA Notice. GTL shall be responsible for providing the CAFA notice
                       required by 28 U.S.C. § 1715 to the Attorney General of the United States
                       and the appropriate state officials within ten (10) days of the filing of the
                       Preliminary Approval Motion. However, GTL may delegate the service of
                       the CAFA Notice to the Claims Administrator. If GTL does so, GTL shall
                       provide the Claims Administrator with the form of CAFA Notice that the
                       Claims Administrator shall serve on the appropriate officials, and the
                       Claims Administrator shall file a declaration with the Court no later than

                       twenty-eight (28) days before the Final Approval Hearing date, stating that
                       the CAFA Notice has been served on the appropriate officials. No Party
                       shall request that an order giving final approval of the Settlement be issued
                       prior to the expiration of the time set forth in 28 U.S.C. § 1715(d).
 11.    SETTLEMENT AWARDS
        11.1   Awards to Settlement Class Members. All Settlement Class Members will be
 entitled to make a Claim upon the Settlement Fund for a Settlement Award, which shall be paid by
 check, as set forth below. Each Settlement Class Member may make only one Claim, regardless of
 the number of Notification Calls the Settlement Class Member received or how many mobile
                                                                                               Exhibit 1
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 telephone numbers GTL called using an automatic telephone dialing system and/or an artificial or
 prerecorded voice in connection with efforts to contact the Settlement Class Member. Each
 Settlement Class Member who submits a valid and timely Claim Form shall be awarded a pro rata
 share of the Settlement Fund after Settlement Costs are deducted.
        11.2    Conditions For Claiming Settlement Awards. Settlement Awards shall be
 available to Settlement Class Members on a claims-made basis. To obtain a Settlement Award, the
 Settlement Class Member must submit a valid and timely Claim Form containing (1) either a valid
 Claim ID or a telephone number on the Settlement Class List or telephone records establishing
 receipt of a Notification Call; (2) the Settlement Class Member’s full name, mailing address, and
 e-mail address (if he or she has one); (3) for mailed Claim Forms, the Settlement Class Member’s
 signature; (4) for Claim Forms submitted via the Settlement Website, the Settlement Class
 Member’s electronic signature and an affirmation that all information contained in the Claim Form
 is true and accurate; and (5) for Claim Forms submitted via 800 number, an affirmation that by
 pressing “1” all information recited after the Claim ID is entered is true and accurate. Claim Forms
 shall be submitted to the Claims Administrator by mail, via 800 number, or via the Settlement
 Website. Any Claim Form or attempt to cure a deficient claim that includes telephone records
 establishing receipt of a Notification Call must be submitted via mail. To be deemed timely, Claim
 Forms must be submitted via the Settlement Website, 800 number, or postmarked prior to or on the

 last day of the Claim Period.
        11.3    Award Estimates. Class Counsel shall include in the Class Notices a good faith
 estimated range for Settlement Awards.
 12.    DISTRIBUTION OF SETTLEMENT AWARDS
        12.1    Settlement Award Payments. Settlement Awards shall be paid by check or
 electronic deposit at the election of the class member. Within forty-five (45) days after the
 Effective Date, the Claims Administrator shall send the Settlement Award to each eligible
 Settlement Class Member who timely submits a completed Claim Form.                    The Claims
 Administrator shall undertake reasonable means to locate current addresses for all returned checks.
                                                                                              Exhibit 1
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 Checks will be valid for one-hundred twenty (120) days from the date on the check. The amounts
 of any checks that remain uncashed more than one-hundred twenty (120) days after the date on the
 check will be included as part of the Second Distribution (as defined below).
        12.2    Second Distribution.      If, after the expiration date of the checks distributed
 pursuant to Section 12.1 above, there remains money in the Settlement Fund sufficient to pay at
 least ten dollars ($10.00) to each Settlement Class Member who cashed his or her initial Settlement
 Award check, such remaining monies will be distributed on a pro rata basis to those Settlement
 Class Members (the “Second Distribution”). The Second Distribution shall be made within ninety
 (90) days after the expiration date of the checks distributed pursuant to Section 12.1 above, and
 shall be paid in the same manner as the original Settlement Award. Checks issued pursuant to the
 Second Distribution will be valid for one-hundred twenty (120) days from the date on the check.
        12.3    Remaining Funds. Subject to the provisions in Section 2.23 herein, money in the
 Settlement Fund that has not been distributed following the expiration of checks issued pursuant to
 the Second Distribution as set forth in Section 12.2 above, including money not distributed
 because there is not enough money in the Settlement Fund to justify a Second Distribution (the
 “Remaining Funds”), shall be paid as cypres to the National Consumer Law Center earmarked for
 working with the FCC and Congress to safeguard the protections of the TCPA.
 13.    OPT-OUTS AND OBJECTIONS

       13.1     Opt-Out Requirements. Persons in the Settlement Class may request exclusion
 from the Settlement by sending a written request to the Claims Administrator at the address
 designated in the Class Notice no later than the Opt-Out and Objection Deadline. Exclusion
 requests must: (i) be signed by the person in the Settlement Class who is requesting exclusion; (ii)
 include the full name and address of the person in the Settlement Class requesting exclusion; (iii)
 include the mobile telephone number on which the person seeking exclusion received the call or
 calls associated with the request for exclusion, and (iv) include the following statement: “I request
 to be excluded from the settlement in the GTL TCPA action, and to waive all rights to the benefits
 of the settlement.” No request for exclusion will be valid unless all of the information described
                                                                                               Exhibit 1
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 above is included. No person in the Settlement Class, or any person acting on behalf of or in
 concert or participation with that person in the Settlement Class, may exclude any other person in
 the Settlement Class from the Settlement Class.
        13.2    Retention of Exclusions. The Claims Administrator will retain a copy of all
 requests for exclusion and will, upon written request, provide copies of any such requests to
 counsel for the Parties.
        13.3    Right To Object.       Any Settlement Class Member may appear at the Final
 Approval Hearing to object to the proposed Settlement, but only if the Settlement Class Member
 has first filed a written objection with the Clerk of Court, in accordance with the requirements set
 forth below, by the Opt-Out and Objection Deadline. Any Settlement Class Member who does not
 provide a written objection in the manner described in this Section shall be deemed to have waived
 any objection and shall forever be foreclosed from making any objection to the fairness,
 reasonableness, or adequacy of the Settlement or the award of any attorneys’ fees and costs and/or
 incentive awards. Further, any Settlement Class Member who intends to appear at the Final
 Approval Hearing must file and serve on all parties a Notice of Intention to Appear with the Court.
       13.4     Objection Requirements.        To be heard at the Final Approval Hearing, the
 Settlement Class Member must make any objection in writing and file it with the Court by the
 Opt-Out and Objection Deadline. The objection must also be mailed to each of the following,

 postmarked not later than the last day to file the objection: (i) Class Counsel – Keogh Law, Ltd., 55
 W. Monroe, Ste. 3390, Chicago, Illinois 60603; and (ii) GTL’s Counsel – Robert J. Herrington,
 Greenberg Traurig, LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067. An
 objection must:
                (A)     Attach documents establishing, or provide information sufficient to allow
                        the Parties to confirm, that the objector is a Settlement Class Member,
                        including providing a valid Claim ID or a telephone number on the
                        Settlement Class List or telephone records establishing receipt of a
                        Notification Call, , full name, address, the mobile telephone number called,
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                        and whether he or she intends to appear at the Final Approval Hearing on
                        his or her own behalf or through counsel;
                (B)     Include a statement of such Settlement Class Member’s specific objections;
                        and
                (C)     State the grounds for objection and attach any documents supporting the
                        objection.
       13.5     Any Settlement Class Member who objects may, but does need to, appear at the
 Final Approval Hearing, either in person or through an attorney hired at the Settlement Class
 Member’s own expense, to object to the fairness, reasonableness, or adequacy of this Agreement
 or the Settlement. A Settlement Class Member or his or her attorney intending to make an
 appearance at the Final Approval Hearing must: (i) file a notice of appearance with the Court no
 later than twenty (20) days prior to the Final Approval Hearing, or as the Court may otherwise
 direct; and (ii) serve a copy of such notice of appearance on all counsel for all Parties. Any
 Settlement Class Member who fails to comply with the provisions of this Section shall waive and
 forfeit any and all rights to appear separately and/or to object, and shall be bound by all the terms
 of this Settlement, and by all proceedings, orders, and judgments in the litigation.
 14.    FINAL APPROVAL AND JUDGMENT ORDER
        14.1    Final Approval. Following completion of the Class Notice process and within

 thirty (30) days following expiration of the Opt-Out and Objection Period, the Parties shall request
 that the Court enter the Final Approval Order in substantially the same form attached as Exhibit 2,
 which shall specifically include provisions that:
                (A)     Finally approve the Settlement as fair, reasonable and adequate to both
                        classes;
                (B)     Find that the Class Notice as given was the best notice practicable under the
                        circumstances, is due and sufficient notice to the Settlement Class, and fully
                        satisfies the requirements of due process and Federal Rule of Civil
                        Procedure 23;
                                                                                               Exhibit 1
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              (C)    Find that the Settlement Class Members have been adequately represented
                     by the Class Representative and Class Counsel;
              (D)    Approve the plan of distribution for the Settlement Fund and any interest
                     accrued thereon;
              (E)    Certify the Settlement Class;
              (F)    Confirm that Class Plaintiff and the Settlement Class Members have
                     released all Released Claims that are contemplated under this Agreement
                     and are permanently barred and enjoined from asserting, commencing,
                     prosecuting, or continuing any of the Released Claims that are
                     contemplated under this Agreement against the Released Parties;
              (G)    Dismiss on the merits and with prejudice all claims of the Settlement Class
                     Members asserted against GTL, as well as the Action, without costs to any
                     party, except as provided in this Agreement; and
              (H)    Retain jurisdiction of all matters relating to the interpretation,
                     administration, implementation, effectuation and enforcement of this
                     Settlement.
 15.   FINAL JUDGMENT
       15.1   The Judgment entered upon Final Approval shall be deemed final:

              (A)    Thirty (30) days after entry of the Final Approval Order approving the
                     Settlement if no document is filed within the time seeking appeal, review or
                     rehearing of the judgment; or
              (B)    If any such document is filed, then five (5) days after the date upon which
                     all appellate and/or other proceedings resulting from such document have
                     been finally terminated in such a manner as to permit the judgment to take
                     effect in substantially the form described in Section 14.




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 16.    DISMISSAL, NO ADMISSIONS, AND PUBLICITY LIMITATIONS
        16.1    Dismissal. Upon entry of the Final Approval Order, the Action shall be dismissed
 with prejudice as to Class Plaintiff and Settlement Class Members.
        16.2    No Admission of Liability. GTL expressly disclaims and denies any wrongdoing
 or liability whatsoever, and GTL expressly denies all liability and wrongdoing of any kind
 associated with the alleged claims in the operative complaints. GTL has denied and continues to
 deny each and every material factual allegation and all claims asserted against it in the Action.
 This Settlement, and any and all negotiations, statements, documents, and/or proceedings in
 connection with this Settlement, shall not be construed or deemed to be evidence of an admission
 or concession by the Released Parties of any liability or wrongdoing and shall not be construed or
 deemed to be evidence of an admission or concession that any person suffered compensable harm
 or is entitled to any relief. Nothing herein shall constitute an admission by the Released Parties
 that the Action is properly brought on a class or representative basis, or that classes may be
 certified in the Action, other than for settlement purposes. Neither the Settlement, nor any act
 performed or document executed pursuant to or in furtherance of the Settlement: (i) is or may be
 deemed to be or may be used as an admission of, or evidence of, the validity of any Released
 Claim, or of any wrongdoing by or liability of the Released Parties; (ii) is or may be deemed to be
 or may be used in any civil, criminal, or administrative proceeding in any court, administrative

 agency or other tribunal as an admission or evidence of any fault or omission of the Released
 Parties; or (iii) is or may be deemed a waiver of GTL’s right to challenge class certification if this
 Settlement for any reason does not become final.
        16.3    Public Statements. There shall be no comments made to the press or any other
 disclosure by or through the Parties or their attorneys with intent that such disclosure will directly
 or indirectly result in notifying the media or advertising publicly about the Settlement or any of its
 provisions, unless and until the Court has granted preliminary approval of the proposed
 Settlement. If preliminary approval is denied, the Parties and their attorneys shall refrain from
 making any comments regarding the proposed Settlement for purposes of publication. If
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 preliminary approval is granted, the Parties and their attorneys shall refrain from initiating
 comments about the Settlement to any members of the press or any other person for the purposes
 of providing public comment regarding the Settlement except as required by the Court, pursuant to
 the notice program approved by the Court, or pursuant to the terms of the Settlement.
 Notwithstanding the foregoing, Class Counsel may place factual notices on their websites
 informing visitors to their websites of the case status, with links to the Settlement Website.
 However, if any Party or attorney is contacted by a member of the press or other person seeking a
 public comment on the Settlement, the Party or attorney may provide the inquiring party with the
 details of the Settlement as published pursuant to the preliminary approval order, without
 additional editorial statements, expression of personal opinion, or estimates of Settlement
 valuation. In no event shall the Class Plaintiff, Class Counsel, or their agents state to any person
 that the Settlement represents an acknowledgement by GTL or its agents and vendors of any
 wrongdoing or liability by any of them. Nothing in this paragraph shall be interpreted to limit
 representations that the Parties or their attorneys may make to the Court to assist it in its evaluation
 of the proposed Settlement; nor shall it prohibit Class Counsel from communicating directly with a
 Class Member or Class Members once appointed as Class Counsel. If a Party is required by a
 valid, enforceable subpoena or government information request to disclose the Settlement or
 information about the Settlement, such Party shall provide reasonable prior written notice (to the

 extent permitted by applicable law) to the other Parties to allow the other Parties to seek to prevent
 such disclosure. GTL may also provide necessary and accurate information about the Settlement to
 its officers, directors, stockholders and other persons or entities as required by securities laws or
 other applicable laws or regulations. The Parties agree that nothing in this Agreement shall be
 construed to prohibit communications between GTL or any other Released Parties, on the one
 hand, and Settlement Class Members, on the other hand, in the regular course of GTL’s business.
 17.     RELEASE OF CLAIMS
         17.1    As of the Effective Date, Class Plaintiff, and the Settlement Class Members
 provide the following releases:
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        17.2    Class Plaintiff and each and all Settlement Class Members, on behalf of themselves
 and their respective spouses, heirs, executors, administrators, representatives, agents, attorneys,
 partners, successors, predecessors-in-interest, assigns, and other person claiming through any of
 them, will be deemed to have fully released and forever discharged GTL and the Released Parties
 from any and all claims, causes of action, suits, obligations, debts, demands, agreements,
 promises, liabilities, damages, losses, controversies, costs, expenses, and attorneys’ fees of any
 nature whatsoever, whether based on any federal law, state law, common law, territorial law,
 foreign law, contract, rule, regulation, any regulatory promulgation (including, but not limited to,
 any opinion or declaratory ruling), common law or equity, whether known or unknown, suspected
 or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent, liquidated or
 unliquidated, punitive or compensatory, as of the date of the Final Approval Order, that arise out of
 or relate in any way to the Released Parties’ contact or attempt to contact Settlement Class
 Members in connection with Notification Calls, calls made by automatic telephone dialing
 systems, and/or artificial or prerecorded voice calls to mobile telephones, to the fullest extent that
 those terms are used, defined or interpreted by the TCPA or any other similar statute, relevant
 regulatory or administrative promulgations and case law, including, but not limited to, claims
 under or for a violation of the TCPA and any other statutory or common law claim arising under
 the TCPA or any federal or state statutes relating to automatically dialed and/or prerecorded calls

 to mobile telephones. (collectively, the “Released Claims”).
        17.3    Waiver of Unknown Claims. Without limiting the foregoing, the Released
 Claims specifically extend to claims that Settlement Class Members do not know or suspect to
 exist in their favor at the time that the Settlement, and the Releases contained therein, become
 effective. This Section constitutes a waiver of, without limitation as to any other applicable law,
 including Section 1542 of the California Civil Code, which provides:

                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                EXIST IN HIS OR HER FAVOR AT THE TIME OF
                EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR

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                 HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
                 SETTLEMENT WITH THE DEBTOR.

          17.4   Class Plaintiff and the Settlement Class Members understand and acknowledge the
 significance of these waivers of California Civil Code Section 1542 and any other applicable
 federal or state statute, case law, rule or regulation relating to limitations on releases.        In
 connection with such waivers and relinquishment, Class Plaintiff and the Settlement Class
 Members acknowledge that they are aware that they may hereafter discover facts in addition to, or
 different from, those facts that they now know or believe to be true with respect to the subject
 matter of the Settlement, but that it is their intention to release fully, finally and forever all
 Released Claims with respect to the Released Parties, and in furtherance of such intention, the
 releases of the Released Claims will be and remain in effect notwithstanding the discovery or
 existence of any such additional or different facts.
          17.5   Covenant Not to Sue. Class Plaintiff and Settlement Class Members agree and
 covenant, and each Settlement Class Member will be deemed to have agreed and covenanted, not
 to sue any Released Party with respect to any of the Released Claims, or otherwise assist others in
 doing so, and agree to be forever barred from doing so, in any court of law, equity, or any other
 forum.
 18.      TERMINATION OF AGREEMENT
          18.1   Either Side May Terminate the Agreement. Class Plaintiff and GTL shall each
 have the right to unilaterally terminate this Agreement by providing written notice of his, her, their

 or its election to do so (“Termination Notice”) to all other Parties within ten (10) calendar days of
 any of the following occurrences:
                 (A)    The Court rejects or declines to preliminarily or finally approve the
                        Agreement,
                 (B)    An appellate court reverses the Final Approval Order, and the Agreement is
                        not reinstated without substantial and material change by the Court on
                        remand;

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                (C)     The Effective Date does not occur; or
                (D)     Any other ground for termination set forth in this Agreement.
        18.2    Termination on Large Number of Opt-Outs.             All Settlement Class Members
 will be bound by all determinations and judgments in the Action. In the event that the number of
 persons in the Settlement Class who validly and timely submit opt-out requests exceeds five
 percent (5%) of the class, GTL, in its sole and absolute discretion, may terminate this Agreement.
        18.3    Revert to Status Quo. If either Class Plaintiff or GTL terminates this Agreement
 as provided herein, the Agreement shall be of no force and effect and the Parties’ rights and
 defenses shall be restored, without prejudice, to their respective positions as if this Agreement had
 never been executed, and any orders entered by the Court in connection with this Agreement shall
 be vacated. However, any payments made to the Claims Administrator for services rendered to the
 date of termination shall not be refunded by GTL.
 19.    TAXES
        19.1    Qualified Settlement Fund. The Parties agree that the Escrow Account into
 which the Settlement Fund is deposited is intended to be and shall at all times constitute a
 “Qualified Settlement Fund” within the meaning of Treasury Regulation § 1.468B-1. The Claims
 Administrator shall timely make such elections as necessary or advisable to carry out the
 provisions of Section 10, including if necessary, the “relation back election” (as defined in Treas.

 Reg. § 1.468B-1(j)(2)) back to the earliest permitted date. Such elections shall be made in
 compliance with the procedures and requirements contained in such Treasury regulations
 promulgated under § 1.468B of the Internal Revenue Code of 1986, as amended (the “Code”). It
 shall be the responsibility of the Claims Administrator to cause the timely and proper preparation
 and delivery of the necessary documentation for signature by all necessary parties, and thereafter
 to cause the appropriate filing to occur.
        19.2    Claims Administrator is “Administrator.” For the purpose of § 1.468B of the
 Code and the Treasury regulations thereunder, the Claims Administrator shall be designated as the
 “administrator” of the Settlement Fund. The Claims Administrator shall cause to be timely and
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 properly filed all information and other tax returns necessary or advisable with respect to the
 Settlement Fund (including, without limitation, the returns described in Treas. Reg. § 1.468B2(k)).
 Such returns shall reflect that all taxes (including any estimated taxes, interest or penalties) on the
 income earned by the Settlement Fund shall be paid out of the Settlement Fund.
        19.3    Taxes Paid By Administrator. All taxes arising in connection with income
 earned by the Settlement Fund, including any taxes or tax detriments that may be imposed upon
 GTL or any of the other Released Parties with respect to any income earned by the Settlement
 Fund for any period during which the Settlement Fund does not qualify as a “qualified settlement
 fund” for federal or state income tax purposes shall be paid by the Claims Administrator from the
 Settlement Fund.
        19.4    Expenses Paid from Fund. Any expenses reasonably incurred by the Claims
 Administrator in carrying out the duties described in Section 10, including fees of tax attorneys
 and/or accountants, shall be paid by the Claims Administrator from the Settlement Fund.
        19.5    Responsibility for Taxes on Distribution. Any person or entity that receives a
 distribution from the Settlement Fund shall be solely responsible for any taxes or tax-related
 expenses owed or incurred by that person or entity by reason of that distribution. Such taxes and
 tax-related expenses shall not be paid from the Settlement Fund.
        19.6    GTL Is Not Responsible. In no event shall GTL or any of the other Released

 Parties have any responsibility or liability for taxes or tax-related expenses arising in connection
 with the payment or distribution of the Settlement Fund to Class Plaintiff, Settlement Class
 Members, Class Counsel or any other person or entity, and the Settlement Class shall indemnify
 and hold GTL and the other Released Parties harmless from all such taxes and tax-related expenses
 (including, without limitation, taxes and tax-related expenses payable by reason of any such
 indemnification).
 20.    MISCELLANEOUS
        20.1    This Agreement shall be governed by the laws of the State of California.


                                                                                                 Exhibit 1
                                                   29
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        20.2    Evidentiary Preclusion. In order to support a defense or counterclaim based on
 principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or
 reduction or any other theory of claim preclusion or issue preclusion or similar defense or
 counterclaim, the Released Parties may file the Agreement and/or the judgment in any action or
 proceeding that may be brought against them.
        20.3    No Construction Against Drafter. This Agreement was drafted jointly by the
 Parties and in construing and interpreting this Agreement, no provision of the Agreement shall be
 construed or interpreted against any Party based upon the contention that this Agreement or a
 portion of it was purportedly drafted or prepared by that Party.
        20.4    Entire Agreement. This Agreement and exhibits hereto constitute the entire
 agreement between the Parties and supersedes all prior understandings, agreements, or writings
 regarding the subject matter of this Agreement. No representations, warranties or inducements
 have been made to any of the Parties, other than those representations, warranties, and covenants
 contained in this Agreement. This Agreement may be amended or modified only by a written
 instrument signed by all Parties or their successors in interest or their duly authorized
 representatives and approved by the Court. The provisions of the Agreement may be waived only
 in a writing executed by the waiving party. The waiver by one party of any breach of this
 Agreement by any other party shall not be deemed a waiver, by that party or by any other party, of

 any other prior or subsequent breach of this Agreement.
        20.5    Authority. Each person executing this Agreement on behalf of any of the Parties
 hereto represents that such person has the authority to execute this Agreement.
        20.6    No Assignment. No party to this Agreement has heretofore assigned, transferred,
 or granted, or purported to assign, transfer, or grant, any of the claims, demands, or cause or causes
 of action disposed of by this Agreement.
        20.7    Receipt of Advice of Counsel. Each Party acknowledges, agrees and specifically
 warrants that he, she or it has fully read this Agreement and the Releases contained herein,
 received independent legal advice with respect to the advisability of entering this Agreement and
                                                                                                Exhibit 1
                                                  30
                                                                                                 Page 56
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 the Releases, and the legal effects of this Agreement and the Releases, and fully understands the
 effect of this Agreement and the Releases. Each Party to this Agreement warrants that he, she, or it
 is acting upon his, her or its independent judgment and upon the advice of his, her, or its own
 counsel and not in reliance upon any warranty or representation, express or implied, of any nature
 or kind by any other party, other than the warranties and representations expressly made in this
 Agreement.
        20.8    Agreement Binding on Successors in Interest. This Agreement is binding on and
 shall inure to the benefit of the respective heirs, successors and assigns of the Parties.
        20.9    Execution in Counterparts. The Parties may execute this Agreement in any
 number of counterparts, each of which shall be deemed an original, but all of which together shall
 constitute one and the same instrument.
        20.10 Notices. Unless stated otherwise herein, any notice required or provided for under
 this Agreement shall be in writing and may be sent by electronic mail, fax, regular mail or FedEx,
 postage prepaid, as follows:


    As to Class Plaintiff and Settlement Class             As to GTL:

    Timothy J. Sostrin                                     Robert J. Herrington
    Keogh Law, LTD.                                        GREENBERG TRAURIG, LLP
    55 W. Monroe St., Ste. 3390                            1840 Century Park East, Suite 1900
    Chicago, IL 60603                                      Los Angeles, CA 90067




        20.11 Future Changes in Laws or Regulations. To the extent Congress, the Federal
 Communications Commission, or any other governing regulatory or legal authority promulgates
 any new or different law, regulation, rule, requirement, declaration, and/or order that would
 govern GTL’s practices, including Notification Call practices and the modifications to
 Notification Call practices described in paragraph 9.2 of this Agreement, those laws, regulations,
 rules, requirements, declarations, and/or orders, rather than this Agreement, shall control as to the


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 conduct of GTL thereafter. GTL shall be permitted and expressly is permitted by this Agreement
 to further modify its practices, including the practices as modified as described in paragraph 9.2 of
 this Agreement, in any respect in response to any such changes to or new or different governing
 laws, including but not limited to the TCPA, regulations, rules, requirements, declarations, and/or
 orders, and such further modifications in that instance are not and shall not be deemed a breach of
 this Agreement.
        20.12 Time Periods. The time periods and dates described herein are subject to Court
 approval and may be modified upon order of the Court or written stipulation of the Parties.
        20.13 Resolution of Disputes.         The Parties shall cooperate in good faith in the
 administration of this Settlement. Any unresolved dispute regarding the administration of this
 Agreement shall be decided by the Court, or a mediator upon agreement of the Parties.
        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
 as follows:

 CLASS PLAINTIFF:                                                                     2/15
                                                                              Dated: _______, 2017


 ____________________
 David Martin



 Global Tel*Link Corporation:                                            Dated: ___________, 2017


 By:

 Its:


 APPROVED AS TO FORM AND
 CONTENT:

 CLASS COUNSEL

 Keogh Law, Ltd.                                                          Dated: __________, 2017

                                                                                               Exhibit 1
                                                  32
                                                                                                Page 58
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  conduct of GTL thereafter. GTL shall be permitted and expressly is permitted by this Agreement

  to further modify its practices, including the practices as modified as described in paragraph 9.2 of

  this Agreement, in any respect in response to any such changes to or new or different governing

  laws, including but not limited to the TCPA, regulations, rules, requirements, declarations, and/or

  orders, and such further modifications in that instance are not and shall not be deemed a breach of

  this Agreement.

         20.12 Time Periods. The time periods and dates described herein are subject to Court

  approval and may be modified upon order of the Court or written stipulation of the Parties.

         20.13 Resolution of Disputes.         The Parties shall cooperate in good faith in the

  administration of this Settlement. Any unresolved dispute regarding the administration of this

  Agreement shall be decided by the Court, or a mediator upon agreement of the Parties.

         IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed

  as follows:

  CLASS PLAINTIFF:                                                            Dated: _ _ _,2017



  David Martin



  Global Tel*Link Corporation:                                           Dated: ff::~·   lS     , 2017




  APPROVED AS TO FORM AND
  CONTENT:

  CLASS COUNSEL

  Keogh Law, Ltd.                                                          Dated: _ _ _ _ , 2017


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                                                                                               Exhibit 1
                                                                                                Page 59
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                                                                       Exhibit 1
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                                  #:5875




 By:   Timothy J. Sostrin

                                                       Dated:   ____       _,   2017

 Lester & Associates


 By:   Patric Lester




 Global Tel*Link Corporation's Counsel

 Greenberg Traurig, LLP                                   Dated:   &.~.   / (2017


       ~,~(w-~)
 By:   Robert J. Herrington




                                                                            Exhibit 1
                                         33
                                                                             Page 61
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                                                                       Exhibit 1
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                                                                        Page 62
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                                  EXHIBIT 1
                                CLAIM FORM




                                                                       Exhibit 1
                                                                        Page 63
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                                       #:5878
                                       David Martin v. Global Tel*Link Corporation
             United States District Court, Central District of California, Case No. 2:15-cv-02495

- - - - - - ~ Settlement Administrator                                     To ll-Free Number: x-x.xx-xxx-xxxx
PO Bo x._[_ _ _ __,)                                                       Website: www.GTLTCPASettlement.com


<<mail id>>
<<Nam e1>>
<<Name2>>
<<Address1>>
<<Address2>>
«City>><<State>>«Zip»

                                                           CLAIM FORM

TO RECEIVE BENEFITS FROM THIS SETILEMENT, YOU MUST PROVIDE THE INFORMATION BELOW AND
YOU MUST SIGN THIS CLAIM FORM. IF THIS CLAIM FORM IS SUBMITIED ONLINE, YOU MUST SUBMIT AN
ELECTRONIC SIGNATURE.

              YOUR CLAIM FORM MUST BE SUBMITTED ON OR B E F O R E - - - - - - -' 2017.

1.   CLAIMANT INFORMATION IF DIFFERENT FROM ABOVE OR ABOVE IS BLANK:


     FIRST NAME                         MIDDLE NAME             LAST NAME


     ADDRESS 1


     ADDRESS 2


     CITY                                                                         STATE     ZIP           (optional)


     Mobile Phone Number Called                         E-MAIL ADDRESS (if applicable)


     Claim ID (If notice was mailed to you, this can be found on Mailed Notice)

2.   AFFIRMATION:

By signing below, I affirm that the information above is true and accurate.

         Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         Name (please print): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         Date: - - - - - - - - - - - - - - - - - - - - -
3 . TELEPHONE RECORDS

If you do not have a Claim ID and your telephone number is not on the Settlement Class List, you must submit this claim form by

mail and attach telephone records establishing receipt of a Notification Call .




QUESTIONS? VISIT www.GTLTCPASettlement.com OR CALL ...
                                                   [ _ _ __.) or Class Counsel
                                                         at 866.726.1092.


                                                                                                                   Exhibit 1
                                                                                                                    Page 64
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                                  EXHIBIT 2
                          FINAL APPROVAL ORDER




                                                                       Exhibit 1
                                                                        Page 65
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 1
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 9
10                           UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12    ALICE LEE, et al.,                      Case No. 2: 15-cv-02495-0DW-PLA
13                                            [consolidated with 2:15-cv-03464-0DW-
                            Plaintiffs,         LA]
14
      V.                                      [PROPOSED] FINAL APPROVAL
15                                            ORDER AND JUDGMENT
      GLOBAL TEL*LINK
16    CORPORATION,                              on. Otis D. Wright II
17                          Defendant.
18
19
20
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22
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27
28                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                                                                Exhibit
                                                              2: 15-CV-02495-0DW-PLA
                                                                                      1
      TCO 362273933v3                                                           Page 66
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 1           This matter previously came before the Court on Plaintiff David Martin's
 2    Motion for Preliminary Approval of the proposed class action settlement of the
 3    case entitled Martin v. Global Tel*Link Corporation (the "Action"). Upon
 4    consideration of the Settlement Agreement, Preliminary approval motion, and the
 5    record, the Court entered an Order (1) Conditionally Certifying a Settlement
 6    Class, (2) Preliminarily Approving Class Action Settlement, (3) Approving Notice
 7    Plan and (4) Setting Final Approval Hearing (the "Preliminary Approval Order").
 8           Thereafter, Class Plaintiff filed a Motion for Final Approval of the proposed
 9    class settlement and Class Plaintifrs Motion for Attorneys' Fees and Expenses,
10    and Motion for Service Award. The Court held a Final Approval Hearing on
11                        , 2017, for which notice was duly given in accordance with this
12    Court's Preliminary Approval Order. The Court has considered all proceedings
13    and filings in this matter, and is fully informed regarding the facts surrounding the
14    proposed settlement. The Court approves the proposed settlement as fair,
15    reasonable, and adequate, and finding no just reason for delay, the Court enters this
16    Final Approval Order, which constitutes a final judgment and adjudication on the
17    merits of all claims of the Settlement Class.
18           It is hereby ORDERED, ADJUDGED AND DECREED as follows:
19            1.        Definitions. The Settlement Agreement and Release dated February
20     15, 2017, including its Exhibits (the "Agreement"), and the definition of words and
21    terms contained therein, are incorporated by reference and are used hereafter. The
22    terms and definitions of this Court's Preliminary Approval Order (Dkt. No._) are
23    also incorporated by reference in this Final Approval Order.
24           2.         Jurisdiction. This Court has jurisdiction over the subject matter of
25    the Action and over the Parties, and over all Settlement Class Members with
26
                                                  -2-
27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                         Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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 1    respect to the Settlement Class conditionally certified for settlement purposes in
 2    this Court' s Preliminary Approval Order, as follows:
 3
 4                All persons using and/or subscribing to a mobile telephone number to
 5                which a Notification Call (as defined in the Settlement Agreement) was
 6                placed during the Class Period, which is from December 5, 2010 through
 7                the date of entry of this Preliminary Approval Order. Excluded from the
 8                Settlement Class are the Judge to whom the Action is assigned and any
 9                member of the Court's staff and immediate family, and all persons who
10                are validly excluded from the Settlement Class.
11
12           3.         Settlement Approval. The Court hereby grants final approval of the
13    Agreement, which has been filed with the Court and shall be deemed incorporated
14    herein. The Court hereby finds the Agreement to be fair, reasonable, and adequate,
15    as to all Settlement Class Members. The Court finds that the Agreement is within
16    the authority of the Parties and the product of arm's length settlement negotiations
17    between Plaintiff and GTL.
18           4.         Class Certification. The Court confirms that the Settlement Class
19    satisfies the requirements of Fed. R. Civ. P. 23 as found in the Preliminary
20    Approval Order. Accordingly, the Court hereby finally certifies the Settlement
21    Class for settlement purposes.
22           5.         Notice. The Court hereby finds and concludes that Class Notice was
23    disseminated to Settlement Class Members in accordance with the terms of the
24    Agreement and that the Class Notice and its dissemination were in compliance
25    with this Court' s Preliminary Approval Order. The Court further finds and
26
                                                  -3-
27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                       Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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 1    concludes that the Class Notice and claims submission procedures set forth in the
 2    Agreement fully satisfy Rule 23 of the Federal Rules of Civil Procedure and the
 3    requirements of due process, were the best notice practicable under the
 4    circumstances, provided due and sufficient individual notice to all Settlement Class
 5    Members that could be identified through reasonable effort, and support the
 6    Court's exercise of jurisdiction over the Settlement Classes as contemplated in the
 7    Agreement and this Final Approval Order.
 8           6.         Notifications to Appropriate Federal and State Officials. The
 9    Court finds that the notice requirements set forth in the Class Action Fairness Act,
10    28 U.S.C. § 1715(b), have been satisfied, and that more than ninety (90) days have
11    elapsed since that notice was provided, as required by 28 U.S.C. § 1715(d).
12           7.         [Exclusion from Settlement Class. Certain members of the
13    Settlement Class have timely requested to be excluded from the Class and the
14    Settlement. Exhibit A, attached hereto, lists the Settlement Class Members who
15    timely requested exclusion from the Settlement Class. Accordingly, this Final
16    Judgment shall not bind or affect Settlement Class Members listed on Exhibit A.]
17           8.         [Objections Overruled. For the reasons stated on the record, as well
18    as the reasons set forth in Plaintiffs and GTL' s respective pleadings, the Court
19    overrules all objections to the Agreement.] [The Court finds that - - - - -
20    is/are not class members and have no standing to object to the Settlement
21    Agreement.]
22           9.         Service Award. Class Plaintiff, David Martin, moved for payment of
23    an incentive award from the Settlement Fund as compensation for the time, effort,
24    and risk he undertook as representative of the Settlement Class. The Court hereby
25    awards $                to David Martin, to be paid from the Settlement Fund.
26
                                                  -4-
27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                        Exhibit 1
28                                                           2: 15-CV-02495-0DW-PLA
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                                       #:5884



 1            10.       Class Counsel Fee and Cost Award. Class Counsel moved pursuant
 2    to Fed. R. Civ. P. 23(h) and 52(a) for an award of attorneys' fees and
 3    reimbursement of expenses. Pursuant to Rules 23(h)(3) and 52(a), this Court
 4    makes the following findings of fact and conclusions of law:
 5                              a. The Class Settlement confers substantial benefits on the
 6                        Settlement Class Members. The value conferred on the Settlement
 7                        Class is immediate and readily quantifiable (upon this Judgment
 8                        becoming Final (as defined in the Agreement), Settlement Class
 9                        Members who have submitted valid Settlement Claim Certification
10                        Forms will receive cash payments that represent a reasonable and
11                        adequate portion of the damages that would be available to them
12                        were they to prevail in an individual action under the Telephone
13                        Consumer Protections Act ("TCPA");
14                              b. Class Counsel vigorously and effectively pursued the
15                        Settlement Class Members' claims before this Court, devoting
16                        substantial time and effort to the litigation of this Action, on a
17                        contingent basis;
18                              c. Class Counsel invested significant time and accumulating
19                        costs with no guarantee of compensation;
20                              d. Class Counsel employed their knowledge of and
21                        experience with class action litigation and the TCPA in achieving a
22                        valuable settlement for the Settlement Class, in spite of
23                        Defendant's possible legal defenses and their experienced and
24                        capable counsel;
25
26
                                                   -5-
27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                               Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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 1                              e. The Agreement was obtained as a direct result of Class
 2                       Counsel' s advocacy;
 3                              f. The Agreement was reached following extensive
 4                       negotiation between Class Counsel and Counsel for GTL, and was
 5                        negotiated in good-faith and in the absence of collusion;
 6                              g. The Class Plaintiff has reviewed the Agreement and been
 7                       informed of Class Counsel's Motion for Attorneys' Fees and Costs
 8                       and has approved;
 9                              h. The Settlement Class Members were advised in the Class
10                       Notice approved by the Court that Class Counsel intended to apply
11                       for an award of attorneys' fees in an amount of up to
12                       $                p lus expenses incurred in the prosecution of the
13                        Action, to be paid from the Settlement Fund;
14                              i. That         member(s) of the Settlement Class has (have)
15                       submitted written objection(s) to the award of attorneys' fees and
16                       expenses; and
17                              j . That counsel who recover a common benefit for persons
18                       other than himself or his client is entitled to a reasonable attorneys'
19                       fee from the Settlement Fund as a whole. See, e.g. , Boeing Co. v.
20                        Van Gernert, 444 U.S. 472, 478 (1980); Blum v. Stenson, 465 U .S.
21                       866, 900 n.16 (1984).
22           Accordingly, Class Counsel are hereby awarded $ _ _ _ _ _ _ _ from
23    the Settlement Fund, as their fee award, and $             for reimbursement of
24    expenses, which the Court finds to be fair and reasonable, and which amounts shall
25    be paid to Class Counsel from the Settlement Fund in accordance with the terms of
26
                                                  -6-
27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                          Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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 1    the Agreement. Class Counsel shall be responsible for allocating and shall allocate
 2    this award of attorneys' fees and expenses that are awarded amongst and between
 3    Class Counsel.
 4            11.       Payment Timing. The fee and cost award to Class Counsel, the
 5    Service Award to the Class Plaintiff, and the Settlement Awards shall be paid in
 6    accordance with and at the times prescribed by the Agreement.
 7            12.       Distribution of Settlement Fund. The Court hereby approves the
 8    plan of distribution for the Settlement Fund as set forth in the Agreement. The
 9    Claims Administrator is hereby ordered to comply w ith the terms of the Agreement
10    with respect to distribution of Attorneys' Fees and Costs, the Service Award, and
11    the Settlement Awards to the Settlement Class Members, including the Second
12    Distribution and disposition of any Remaining Funds thereafter. Should any
13    Remaining Funds be distributed, the Court hereby approves National Consumer
14    Law Center (''NCLC") as the cy pres recipient. The funds to NCLC shall be
15    earmarked for work associated with the FCC and Congress to protect consumer
16    protections under the TCPA. The Court finds NCLC to be closely aligned with the
17    Settlement Class's interests.
18            13.        Release. As of the Effective Date, the Class Plaintiff and each and
19    every one of the Settlement Class Members, are permanently barred and enjoined
20    from asserting, commencing, prosecuting, or continuing, either individually or as a
21    class, or in any other capacity, any of the Released Claims against any of the
22    Released Parties, as set forth in the Agreement. Additionally, as of the Effective
23    Date, pursuant to the releases given under the Agreement, the Released Claims are
24    unconditionally, fully, and finally released and forever discharged as against the
25    Released Parties, as fully set forth in the Agreement. Also as of the Effective Date,
26
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27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                        Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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 1    any rights of Class Plaintiff and each and every one of the Settlement Class
 2    Members to the protections afforded under Section 1542 of the California Civil
 3    Code and/or any other similar, comparable or equivalent laws are waived and
 4    terminated.
 5            14.       Final Judgment and Dismissal with Prejudice. This is the final
 6    judgment for purposes of Rule 58 of the Federal Rules of Civil Procedure, and the
 7    Court hereby dismisses this Action, with prejudice, without costs to any party,
 8    except as expressly provided for in this Final Approval Order and Judgment of
 9    Dismissal.
10            15.        No Admission. Neither this document, nor te Agreement (including
11    any and all exhibits attached thereto) and any and all negotiations, documents, and
12    discussions associated with it shall be deemed or construed to be an admission or
13    evidence of any violation of any statute, law, rule, regulation or principle of
14    common law or equity, or of any liability or wrongdoing by GTL, or the truth of
15    any of the claims.
16            16.       Continuing Jurisdiction. Without affecting the finality of this Final
17    Approval Order and Judgment of Dismissal, the Court retains continuing
18    jurisdiction over (a) implementation of the Agreement, distribution of the
19    settlement payments, Service Award, and attorneys' fees and costs contemplated
20    by the Agreement, and processing of the claims permitted by the Agreement, until
21    each and every act agreed to be performed pursuant to the Agreement has been
22    performed, and (b) all parties to this Action and members of the Settlement Class
23    for the purpose of enforcing and administering the Agreement. In the event that
24    any provision of the Agreement or this Final Approval Order is asserted by GIL as
25    a defense in whole or in part to any claim, or otherwise asserted (including,
26
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27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                         Exhibit 1
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 1    without limitation, as a basis for a stay) in any other suit, action or proceeding
 2    brought by a Settlement Class Member or any person actually or purportedly
 3    acting on behalf of any Settlement Class Member(s), that suit, action or other
 4    proceeding shall be immediately stayed and enjoined until this Court or the court
 5    or tribunal in which the claim is pending has determined any issues related to such
 6    defense or assertion. Solely for purposes of such suit, action or other proceeding,
 7    to the fullest extent they may effectively do so under applicable law, the Parties
 8    irrevocably waive and agree not to assert, by way of motion, as a defense or
 9    otherwise, any claim or objection that they are not subject to the jurisdiction of the
10    Court, or that the Court is, in any way, an improper venue or an inconvenient
11    forum. These provisions are necessary to protect the Agreement, this Final
12    Approval Order and this Court's authority to effectuate the Agreement, and are
13    ordered in aid of this Court' s jurisdiction and to protect its judgment.
14    IT IS SO ORDERED.
15
16
17
       Dated:- - - - - - - - - -
18                                            Hon. Otis D. Wright, II
19                                            United States District Judge

20
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27                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

                                                                                           Exhibit 1
28                                                           2:15-CV-02495-0DW-PLA
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                                  EXHIBIT 3
                                MAIL NOTICE




                                                                       Exhibit 1
                                                                        Page 75
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              NOTICE OF CLASS ACTION LAWSUIT AND PROPOSED SETTLEMENT
       THE COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION FROM A LA WYER.

       If you received a call on                                   GTL TCPA Litigation
                                                                   Settlement Admmistrator
       your mobile phone from                                      P.O. Box
                                                                   CITY, ST.,..........z- IP--
      Global Tel*Link, you may
      be entitled to money under                                   «Barcode»
       a class action settlement.                                  Postal Service: Please do not mark barcode

         Tms NOTICE MA y AFFECT
       YOUR LEGAL RIGHTS. PLEASE                                   ATF - «ClaimID» «MailRec»
          READ IT CAREFULLY.
                                                                   «First I» «Last 1»
                                                                   «CO»
      This is an official court notice from the United             «Addr2»
      States District Court for the Central District of            «Addrl»
          California, Martin v. Global Tel*Link                    «City», «ST» «Zip» «Country»
       Corporation, Case No. 2:15-cv-02495, ofa
      proposed class action settlement alleging that
      GTL p laced robocalls to mobile telephones in
         violation of a federal law, the Telephone
            Consumer Protection Act (TCPA).

         Why am I getting this Notice? You were identified as someone who may have received a call on a mobile
         phone from GTL using a prerecorded voice message. Plaintiff David Martin alleges that certain calls by GTL
         violated the TCP A. GTL denies any wrongdoing. This notice contains limited information about the Settlement.
         For more information, to view additional Settlement documents and to review information regarding your opt-
         out and OQjection rights and the final approval hearing, visit www.GTLTCPASc11 lcmcn1.cor or call calling
         [lNSERT NUMBER .

         What does the Settlement Provide? GTL has agreed to pay a total of$8,800,000 into a Settlement Fund, which
         will pay for the class members' claims, settlement costs, and any attorneys' fees, expenses, service awards, and
         charitable contributions awarded by the Court. Counsel for the class estimate that a Settlement Class member
         who submits a valid claim form ("Claim Form'') may receive a cash award of between $XXX to i :XX. Plaintiff
         will petition for a service award not to exceed $X for his work in representing the Class and Class Counsel's
         fees equal to _ _ of the settlement fund, not to exceed $_, plus expneses.

         How can I r ecei"e a ()ayment? To receive payme1~you must obtain complete and submit a valid C laim
         Form no later than Xxxxxx XX, 20 l 7 either ooline at www.GTLTCPASenlement.com, or by calling [!INSERl]
           OTLINg, or by mail postmarked no later than xxxxx XX 2017. If you mail your claim form, it must be
         sent to the Settlement Admfoistrator at the address on the front of this postcard. You must follow the specific
         instructions set forth at www.GTLTCPASclllcmcnt.com.

         What ifl do nothing? If you do nothing, you will not be eligible for payment. But you will still be bound by
         the settlement and you will release GTL from liability.

         How can I exclude myself? If you wish to exclude yourself from the settlement, you must send a letter
         requesting exclusion to the Settlement Administrator postmarked no later Xxxxxx XX, 2017 at the address on
         the front of this postcard. You must follow the specific instructions set forth at www.GTLTCPASenlement.com.

         How can I o b.iect? To object to any part of the settlement, you must file a written objection with the Court by
           xxxxx XX 201 and mail a copy to both class counsel and defense counsel. You must follow the specific
         instructions set forth at www.GTLTCPAScttlcmcnt.com. The Court will hold a hearing on [MONTH & DA}],
         2017_ , at XX:XX to consider whether to approve the settlement, and the attorneys' fees and expenses requested.
         You or your lawyer may ask to appear and speak at your own expense. Further information and instructions are
         set forth at www.GTLTCPASenlement.com.




                                                                                                            Exhibit 1
                                                                                                             Page 76
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                                  EXHIBIT 4
                      PRELIMINARY APPROVAL ORDER




                                                                       Exhibit 1
                                                                        Page 77
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                                   #:5892



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10                       UNITED STATES DISTRICT COURT

11                     CENTRAL DISTRICT OF CALIFORNIA

12 ALICE LEE, et al.,                   Case No. 2:15-cv-02495-0DW-PLA
                                        [consolidated with 2: l 5-cv-03464-0DW-
13
                        Plaintiffs,      LA]
14
     V.                                 rPROPOSEDl ORDER (1)
15                                      CONDITIONALLY CERTIFYING A
   GLOBAL TEL*LINK                      SETTLEMENT CLASS, (2)
16 CORPORATION,                          RELIMINARILY APPROVING
                                        CLASS ACTION SETTLEMENT~ (3)
17                      Defendant.       PPROVING NOTICE PLAN ANI) (4)
                                         ETTING FINAL APPROVAL
18                                        ARING
19                                       on. Otis D. Wright II
20
21
22
23
24
25
26
27 ~~~~~~~~~~~~~~~~~~~~~~~~~
      [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
28       PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING   Exhibit 1
               NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING
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 1          This matter came before the Court on Plaintiff David Martin's Motion for
 2 Preliminary Approval of the proposed class action settlement (the "Settlement") of
 3 the case entitled Martin v. Global Tel*Link Corporation (the "Action"). The
 4 Action was brought by plaintiff David Martin ("Plaintiff'), individually and on
 5 behalf of all others similarly situated, against defendant Global Tel *Link
 6 Corporation ("GTL" and, together with Plaintiff, the "Parties"). Based on this
 7 Court's review of the Parties' Class Action Settlement Agreement and Release (the
 8 "Agreement") and the Motion for Preliminary Approval of Settlement, THE
 9 COURT HEREBY FINDS AND ORDERS AS FOLLOWS:
10           1.        Settlement Terms. Unless otherwise defined herein, all terms in this
11 Order shall have the meanings ascribed to them in the Agreement.
12          2.         Jurisdiction. The Court has jurisdiction over the subject matter of
13 the Action, the Parties, and all persons in the Settlement Class.
14          3.         Scope of Settlement. The Agreement resolves all remaining claims
15 alleged in the Consolidated Class Action Complaint filed in the Central District of
16 California on August 14, 2015.
17          4.         Preliminary Approval of Proposed Agreement. The Court has
18 conducted a preliminary evaluation of the Settlement as set forth in the Agreement.
19 Based on this preliminary evaluation, the Court finds that: (a) the Agreement is
20 fair, reasonable and adequate, and should be approved; (b) the Agreement has been
21 negotiated in good faith at arm's length between experienced attorneys famjliar
22 with the legal and factual issues of this case, and with the assistance of an
23 experienced mediator; and (c) with respect to the forms of notice of the material
24 terms of the Settlement to persons in the Settlement Class for their consideration
25
                                                -2-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1 (Exs. 1, 3, 5 and 6 to the Agreement), that notice is appropriate and warranted.
 2 Therefore, the Court grants preliminary approval of the Settlement.
 3          5.           Conditional Class Certification for Settlement Purposes Only. The
 4 Court, pursuant to Rule 23 of the Federal Rules of Civil Procedure, conditionally
 5 certifies, for purposes of this Settlement only, the following Settlement Class:
 6               All persons using and/or subscribing to a mobile telephone number to
 7               which a Notification Call (as defined in the Settlement Agreement) was
 8               placed during the Class Period, which is from December 5, 2010 through
 9               the date of entry of this Preliminary Approval Order. Excluded from the
10               Settlement Class are the Judge to whom the Action is assigned and any
11               member of the Court's staff and immediate fami ly, and all persons who
12               are validly excluded from the Settlement Class.
13          6.           Solely for the purposes of settlement, the Court preliminarily finds
14 that the prerequisites for certification a class action for settlement purposes under
15 Fed. R. Civ. P. 23(a) and 23(b)(3) have been satisfied. The Court makes the
16 following preliminary findings:
17                     (a)   The Settlement Class appears to be so numerous that joinder of

18 all members is impracticable;
               (b)    There appear to be questions of law or fact common to the
19
   Settlement Class for purposes of determining whether the Settlement should be
20
   approved;
21
               (c)    Plaintiff's claims appear to be typical of the claims being
22
     resolved through the Settlement;
23
24
25
                                                  -3-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1                     (d)   Plaintiff appears to be capable of fairly and adequately
 2 protecting the interests of all members of the Settlement Class in connection with
 3 the Settlement;
 4                     (e)   Common questions oflaw and fact appear to predominate over

 5 questions affecting only individual persons in the Settlement Class. Accordingly,
 6 the Settlement Class appears to be sufficiently cohesive to warrant settlement by
     representation; and
 7
                       (f)   Certification of the Settlement Class appears to be superior to
 8
     other available methods for the fair and efficient settlement of the claims of the
 9
     Settlement Class.
10
            7.           Class Representative. The Court appoints Plaintiff David Martin to
11
     act as the representative of the Settlement Class pursuant to Rule 23 of the Federal
12
     Rules of Civil Procedure.
13
            8.           Class Counsel. The Court appoints Keogh Law, Ltd. and Lester &
14
     Associates as Class Counsel pursuant to Rule 23 of the Federal Rules of Civil
15
     Procedure.
16
            9.           Final Approval Hearing. At _ _ .m. on _ _ _ _, 2017, at
17
     350 W. P1 Street, Courtroom 5D, Los Angeles, CA, 900012, or at such other date
18
     and time later set by Court Order, this Court will hold a Final Approval Hearing on
19
     the fairness, adequacy and reasonableness of the Agreement and to detennine
20
     whether (a) final approval of the Settlement embodied by the Agreement should be
21
     granted, and (b) Class Counsel's application for attorneys' fees and expenses, and
22
     service award to Plaintiff, should be granted, and in what amount. No later than
23
     _[130 days after the entry of this order]_ _, 2017, Plaintiff must file papers in
24
     support of Class Counsel's application for attorneys' fees and expenses and the
25
                                             -4-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1 service award to the Plaintiff. No later than _[210 days after the entry of this
 2 order]_ _, 2017, the parties must file papers in support of final approval of the
 3 Settlement and respond to any written objections. The Court may postpone,
 4 adjourn, or continue the Final Approval Hearing without further notice to the
 5 Settlement Class. After the Final Approval Hearing, the Court may enter a Final
 6 Approval Order in accordance with the Agreement as the Final Judgment in this
 7 Action, which will adjudicate the rights of the Settlement Class Members with
 8 respect to the claims being settled.
 9           10.       Settlement Claims Administrator. Kurtzman Carson Consultants is
10 hereby appointed as the Claims Administrator and shall be required to perform all
11 the duties of the Claims Administrator as set forth in the Agreement and this Order.
12           11.       Class Notice. The Court approves the proposed plan for giving
13 notice to the Settlement Class directly (using post card and/or email notice),
14 through establishment of a Settlement Website, and through publication via
15 Facebook News Feed, as more fully described in the Preliminary Approval Motion
16 and the Agreement ("Notice Plan"). The Notice Plan, in form, method and
17 content, complies with the requirements of Rule 23 of the Federal Rules of Civil
18 Procedure and due process, and constitutes the best notice practicable under the
19 circumstances. The Court hereby directs the Parties and the Claims Administrator
20 to complete all aspects of the Notice Plan no later than          [120 days after the
21 entry of this order]             , 2017 (''Notice Deadline").
22           12.       The Claims Administrator shall file with the Court by no later than
23 _ _[210 days after the entry of this order]             , 2017, proof that notice was
24 provided in accordance with the Agreement and this Order.
25
                                               -5-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
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27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1           13.       Cost of Class Notice and Claims Processing. Defendant shall bear
 2 all costs of notice to the Settlement Class and of processing claims, which shall be
 3 paid from the Settlement Fund.
 4           14.       Filing of CAFA Notice. No later than _ _[210 days after the entry
 5 of this order] _ _, Defendant, or the Claims Administrator if so delegated
 6 pursuant to the Agreement, shall file with the Court a declaration regarding
 7 compliance with the notice provisions of the Class Action Fairness Act of 2005
 8 ("CAFA"), 28 U.S.C. § 1715.
 9           15.       Opt-Out and Objection Deadline. Persons in the Settlement Class
10 who wish to either object to the Settlement or request exclusion from the
11 Settlement Class must do so by                [sixty (60) days after the Notice
12 Deadline]                   , 2017. Persons in the Settlement Class may not both object
13 and opt-out. If a person both requests to opt-out and objects, the request to opt-out
14 will control.
15           16.       Exclusion from the Settlement Class. To request exclusion from the
16 Settlement Class, a person in the Settlement Class must follow the directions in the
17 Class Notice and send a compliant request to the Claims Administrator at the
18 address designated in the Class Notice by the Opt-Out and Objection Deadline.
19 Exclusion requests must (i) be signed by the person in the Settlement Class who is
20 requesting exclusion; (ii) include the full name and address of the person in the
21 Settlement Class requesting exclusion; (iii) include the mobile telephone number
22 on which the person seeking exclusion received the call or calls associated with the
23 request for exclusion, and (iv) include the following statement: "I request to be
24 excluded from the settlement in the GTL TCPA action, and to waive all rights to
25
                                               -6-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
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27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

                                                                                     Exhibit 1
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 1 the benefits of the settlement." No request for exclusion will be valid unless all of
 2 the foregoing information is included. No person in the Settlement Class, or any
 3 person acting on behalf of or in concert or participation with that person in the
 4 Settlement Class, may exclude any other person in the Settlement Class from the
 5 Settlement Class.
 6           17.       The Claims Administrator will retain a copy of all requests for
 7 exclusion. Not later than twenty-eight (28) days before the Final Approval
 8 Hearing, the Claims Administrator will file with the Court a declaration that lists
 9 all of the exclusion requests received.
10           18.       If a timely and valid exclusion request is made by a person in the
11 Settlement Class, then the Agreement and any determinations and judgments
12 concerning the Settlement will not bind the excluded person.
13           19.       All Settlement Class Members will be bound by all determinations
14 and judgments concerning the Settlement.
15          20.        Objections to the Settlement. To object to the Settlement,
16 Settlement Class Members must follow the directions below and in the Class
17 Notice and file a written objection with the Court by the Opt-Out and Objection
18 Deadline. Settlement Class Members also must mail (postmarked no later than the
19 Opt-Out and Objection Deadline) a copy of their written objections to each of the
20 following: (a) Class Counsel -Timothy Sostrin, Keogh Law, Ltd., 55 W. Monroe,
2 1 Ste. 3390, Chicago, Illinois 60603 ; and (b) GTL's Counsel - Robert Herrington,
22 Greenberg Traurig, LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA
23 90067. In connection with an objection, the Settlement Class Member must: (a)
24 attach documents establishing, or provide information sufficient to allow the
25
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26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1 Parties to confirm, that the objector is a Settlement Class Member, including
 2 providing including providing a valid Claim ID or a telephone number on the
 3 Settlement Class List or telephone records establishing receipt of a Notification
 4 Call, full name, address, the mobile telephone number called, (b) include a
 5 statement of such Settlement Class Member's specific objections; (c) state the
 6 grounds for objection, as well as identify any documents which such objector
 7 desires the Court to consider; and (d) if the Settlement Class Member or his or her
 8 attorney intending to make an appearance at the Final Approval Hearing, they
 9 must: (i) file a notice of appearance with the Court no later than twenty (20) days
10 prior to the Final Approval Hearing, or as the Court may otherwise direct; and (ii)
11 serve a copy of such notice of appearance on all counsel for all Parties. The Court
12 will not consider an objection unless the objection complies with these
13 requirements.
14           21 .      Any Settlement Class Member who fails to comply with Paragraph
15 20 will not be permitted to object to the Settlement at the Final Approval Hearing,
16 will be foreclosed from seeking any review of the Settlement by appeal or other
17 means, will be deemed to have waived his, her or its objections, and will be forever
18 barred from making any objections in the Action or any other related action or
19 proceeding. All Settlement Class Members wi 11 be bound by all determinations
20 and judgments in the Action, whether favorable or unfavorable to the Settlement
2 1 Class.
22           22.       Claims Procedures. The Court approves the claims procedures set
23 forth in the Agreement. The Court approves the form and content of the Claim
24 Form substantially in the form attached to the Agreement. A properly executed
25
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26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1 Claim Form must be submitted as required in the Class Notice on the settlement
 2 website, via telephone, or postmarked not later than sixty (60) days after the Notice
 3 Deadline.
 4          23.        Stay of Other Proceedings. Pending the final determination of
 5 whether the Settlement should be approved, all pre-trial proceedings and briefing
 6 schedules in the Action are stayed.
 7          24.        Pending the final determination of whether the Settlement should be
 8 finally approved, Plaintiff and all persons in the Settlement Class are hereby stayed
 9 and enjoined from commencing, pursuing, maintaining, enforcing or prosecuting,
10 either directly or indirectly, any Released Claims in any judicial, administrative,
11 arbitral or other forum, against any of the Released Parties. Such injunction will
12 remain in force until the Court enters the Final Approval Order or until such time
13 as the Parties notify the Court that the Settlement has been termjnated. Nothing
14 herein will prevent any person in the Settlement Class, or any person actually or
15 purportedly acting on behalf of any such person (s), from taking any actions to stay
16 or dismiss any Released Claim(s). This injunction is necessary to protect and
17 effectuate the Agreement, this Preliminary Approval Order, and the Court's
18 flexibility and authority to effectuate the Agreement and to enter judgment when
19 appropriate, and is ordered in aid of this Court's jurisdiction and to protect its
20 judgments. This injunction does not apply to any person who requests exclusion
21 from the Settlement.
22          25.        If for any reason whatsoever this Settlement is not finalized or the
23 Settlement as detailed in the Agreement is not finally approved by the Court, the
24 certification of the Settlement Class shall be void and the Parties and the Action
25
                                                 -9-
26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
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27            N OTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1 will return to the status quo as it existed prior to the Agreement, and no doctrine of
 2 waiver, estoppel or preclusion will be asserted in any proceedings, in response to
 3 any motion seeking class certification, any motion seeking to compel arbitration or
 4 otherwise asserted at any other stage of the Action or in any other proceeding. No
 5 agreements, documents or statements made by or entered into by any Party in
 6 connection with the Settlement may be used by Plaintiff, any person in the
 7 proposed Settlement Classes, GTL, or any other person to establish liability, any
 8 defense, and/or any of the elements of class certification, whether in this Action or
 9 in any other proceeding.
10          26.        Reasonable Procedures to Effectuate the Settlement. Counsel are
11 hereby authorized to use all reasonable procedures in connection with approval and
12 administration of the Settlement that are not materially inconsistent with this Order
13 or the Agreement, including making, without further approval of the Court, minor
14 changes to the form or content of the Class Notice and Claim Form and other
15 exhibits that they jointly agree are reasonable and necessary, including, by way of
16 example, modifications based on market availability to the anticipated domain
17 name internet address for the Settlement Website. The Court reserves the right to
18 approve the Agreement with such modifications, if any, as may be agreed to by the
19 Parties without further notice to persons in the Settlement Class.
20          27.        Reservation of Rights and Retention of Jurisdiction. The Court
21 reserves the right to adjourn or continue the date of the Final Approval Hearing
22 without further notice to Settlement Class Members, and retains jurisdiction to
23 consider all further applications arising out of or connected with the settlement.
24
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26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1          28.         Schedule of Future Events. Accordingly, the following are the
 2 deadlines by which certain events must occur:
 3
 4                 , 2017          Deadline for notice to be provided in accordance with the
 5     [120 days after the         Agreement and this Order (Notice Deadline)
 6     entry of this Order]

 7                     , 2017      Deadline for filing of Plaintiffs Motion for Attorneys'

 8     [130 days after the         Fees and Costs and Motion for Service Award
       entry of this Order]
 9
10
                   , 2017          Deadline to file objections or submit requests for
       [60 days after the          exclusion (Opt-Out and Objection Deadline)
11
       Notice Deadline]
12
                   , 2017          Deadline for Rule 23(b)(3) Class Members to Submit a
13
       [60 days after the          Claim Form (Claim Period)
14
       Notice Deadline]
15
                        ~   2017   Deadline for Parties to file the following:
16
       [210 days after the            (1) Proof of Class Notice;
17
       entry of this Order]           (2)Proof of CAFA Notice; and
18
                                      (3)Motion and memorandum in support of final
19                                       approval, including responses to any objections.
20
21                , 2017 at        Final Approval Hearing
22
       - - -.m.
23
24
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26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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 1     [No earlier than 238
 2     days after the entry
 3     of this Order]
 4
 5 IT IS SO ORDERED.

 6
 7
 8
      Dated:
 9                                  Hon. Otis D. Wright, II
10                                  United States District Judge

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26   [PROPOSED] ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
        PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
27            NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING

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                                  EXHIBIT 5
                              WEBSITE NOTICE




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                                  #:5905
                        David Martin v. Global Tel*Link Corporation
                   United States District Court, Central District of California
                                    Case No. 2:15-cv-02495


          If you received a call on your mobile phone from Global Tel*Link, you may be
                      entitled to money under a class action settlement.

         A federal court authorized this Notice. This is not a solicitation from a lawyer.


    •   A proposed settlement will provide a total of $8,800,000 (the " Settlement Fund") to
        fully settle and release claims of persons using and/or subscribing to a mobile
        telephone number to which GTL placed a "Notification Call" (as that term is
        defined below) during the period from December 5, 2010 through the date of entry
        of the Preliminary Approval order.

    •   Plaintiff David Martin alleges that these Notification Calls violated the federal
        Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the "TCPA"). GTL
        denies Plaintifrs allegations and denies any wrongdoing whatsoever. The Court has
        not ruled on the merits of Plaintifrs claims or GTL's defenses. By entering into the
        settlement, GTL has not conceded the truth or validity of any of the claims against
        it.

    •   The Settlement Fund shall be used to pay all amounts related to the settlement,
        including awards to Settlement Class members who submit a valid and timely claim
        form to receive payment (" Claim Form" ), attorneys' fees and costs to attorneys
        representing Plaintiff and the Settlement Class ("Class Counsel"), any service
        award for Plaintiff, and the costs of notice and administration of the settlement.
        Class Counsel estimate that Settlement Class members who timely submit a valid
        Claim Form will receive between $X         and $XXX. Monies remaining in the
        Settlement Fund after these payments are made will be distributed to a charity
        approved by the Court only if a second distribution is not feasible.

    •   Your rights and options, and the d eadlines to exercise them, are explained in this
        Notice. Your legal rights are affected whether you act or do not act. Read this
        Notice carefully.


                       •   •                        I •   I   •             SE1ffl!EMENfli:

                                 If you submit a valid Claim Form by ~X xxx XX, 2017, you will
                                 receive a payment and will give up your rights to sue GTL and/or
    SUBMIT A CLAIM               any other released parties on a released claim. Claim Forms may
    FORM                         be submitted by mail to                        or through the
                                 settlement website by clicking [here].




           QUESTIONS? CALL 1-_ _ __
                                                                                             Exhibit 1
                                                                                              Page 91
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                                 If you ask to be excluded, you will not receive a payment.
     EXCLUDE YOURSELF            This is the only option that allows you to pursue your own
     OR "OPT-OUT" OF THE         claims against GTL and/or other released arties in the future.
     SETTLEMENT                  The deadline for excluding yourself is xxxXX, 20 17. To
                                 opt-out, you must follow the instructions below.
                                 Write to the Court about why you believe the settlement is unfair
                                 in any respect. The deadline for objecting is xxx XX, 2017. To
                                 obtain a benefit from this settlement, you must still submit a
     OBJECT TO THE
                                 Claim Form. If you submit only an objection, you will not
     SETTLEMENT
                                 receive any benefit from the settlement and you will give up your
                                 rights to sue GTL and/or any other released parties on a released
                                 claim. To object, you must follow the instructions below.

                                 If you do nothing, you will not receive any monetary award and
     DO NOTHING                  you will give up any rights you may have to sue GTL and/or any
                                 other released parties on a released claim.

                                 Ask to speak in Court about the fairness of the settlement. To
                                 speak at the Final Approval Hearing, you must file a document
     GO TO THE FINAL
                                 including your name, address, telephone number and your
     APPROVAL HEARING
                                 signature with the Court stating your intention to appear no later
                                 than XXX XX, 20 17.

    •   These rights and options-and the deadlines to exercise them-are explained m this
        Notice.

    •   The Court in charge of this case still has to decide whether to approve the settlement.
        Payments will be made if the Court approves the settlement and after any appeals are
        resolved. Please be patient.


                                    BASIC INFORMATION




 The purpose of this Notice is to inform you that a proposed Settlement has been reached in the
 putative class action lawsuit entitled David Martin v. Global Tel*Link Corporation, Case No.
 2:1 5-cv-02495 (Central District of California). Because your rights will be affected by this
 Settlement, it is extremely important that you read this Notice carefully. This Notice summarizes
 the settlement and your rights under it.




  If you received an email or postcard describing this settlement, that is because GTL's records
  indicate that you may be a member of the Settlement C lass in this action.


               QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
                                                                                              Exhibit 1
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  In a class action, one or more people called a Class Representative (here, Plaintiff) sue on behalf
  of people who allegedly have similar claims. This group is called a class and the persons
  included are called class members. If the proposed class is certified by the court, then one court
  resolves the issues for all of the class members, except for those that exclude themselves from
  the class.

  Here, Plaintiff claims that GTL violated the TCPA by placing Notification Calls through the use
  of an automatic telephone dialing system or an artificial or prerecorded voice without prior
  express consent of the called party. GTL denies these allegations and denies any claim of
  wrongdoing. GTL has asserted various defenses and further denies that class members suffered
  any injury or damage. The court has not decided who is right, and the settlement resolves the
  lawsuit. The Court has conditionally certified a class action for settlement purposes only. The
  Honorable Otis D. Wright, IT is the judge presiding over this action.




  The Court did not decide in favor of Plaintiff or GTL. Instead, both sides agreed to this
  settlement. That way, they avoid the risk and cost of a trial, and the Settlement Class members
  will receive compensation. Plaintiff and Class Counsel think the settlement is best for all
  persons in the Settlement Class.

                           WHO IS IN THE SETTLEMENT CLASS?




 The Court has certified a class action for settlement purposes only. The Settlement Class is
 comprised of:

        All persons using and/or subscribing to a mobile telephone number to which a
        Notification Call (as defined in the Settlement Agreement) was placed during the Class
        Period, which is from December 5, 2010 through the date of entry of this Preliminary
        Approval Order. Excluded from the Settlement Class are the Judge to whom the Action
        is assigned and any m ember of the Court's staff and immediate family, and all persons
        who are validly excluded from the Settlement Class.

        ''Notification Call" means a call (i) placed by or on behalf of GTL, (ii) to a number
        attempted in a Failed Inmate Call Attempt, (iii) using a prerecorded voice message, (iv)
        to explain in sum and substance that inmate calls could not be completed and/or billed,
        and that the called party could take certain steps to arrange for billing and/or setup a
        prepaid account. For example, a prerecorded message for a Notification Call could take
        substantially the following form: "This is an important message from GTL about calls
        from an offender at a correctional facility. Para escuchar este mensaje en espanol, oprima
        el numero uno. Your telephone service provider is unable to bill you for these calls. If
        you wish to receive these calls, you must contact us at 1- 877-650-4249 to arrange for
        billing. To hear these instructions again, press 1. To end this call, please hang up."

                QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
                                                                                             Exhibit 1
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        "Failed Inmate Call Attempt" means a telephone call attempted by an inmate or prisoner
        through GTL's service to a phone number for which GTL had no billing relationship and
        therefore no means to bill the call to the called party.

        If you are still not sure whether you are included, you can visit other sections of the
        Settlement Website, www.GTLTCPASettlement.CO!!l, you may write to the claims
        administrator at GTL Telephone Consumer Protection Act Litigation., c/o
        _ _ _ _ _ _ _ _ _ _ _, or you may call the Toll-Free Settlement Hotline, 1-
        - - - - -~
                        , for more information.

                         THE LAWYERS REPRESENTING YOU



  The Court has appointed the law firms of Keogh Law, Ltd and Lester & Associates as Class
  Counsel to represent you and the other persons in the Settlement Class. You will not be
  personally charged by these lawyers. If you want to be represented by your own lawyer, you
  may hire one at your own expense.



  Class Counsel will ask the Court to approve payment of_%_ of the Settlement Fund @=:)
  to them for attorneys' fees, plus expenses. Class Counsel also will ask the Court to approve
  payment of $X ,OOO to Plaintiff for his service as Class Representative. The Court may award
  less than these amounts.

                     THE SETTLEMENT BENEFITS - WHAT YOU GET




  Settlement Fund. GTL will pay the total amount of $8,800,000 into a fund (the "Settlement
  Fund"), which will cover: (1) cash payments to Settlement Class Members who submit timely
  and valid Claim Forms; (2) any award of attorneys' fees to Class Counsel as approved by the
  Court, not to exceed % of the settlement fund L), plus expenses; (3) service award to the
  Plaintiff as approved by the Court, in an amount not to exceed $X,OOO; (4) the costs of notice
  and administration of the Settlement; and (5) under certain circumstances as described below, a
  charitable contribution. A c~y of the entire Settlement with its complete terms is available at
  www.GTLTCPASettlement.com

  Cash Pavments. All Settlement Class Members are eligible to submit a Claim Form and
  receive a cash payment. To submit a Claim Form, follow the procedures described under
  Question 11 below. Counsel for the class estimate that a Settlement Class member who submits
  a valid claim form ("Claim Form") may receive a cash award of between $:XXX to $:XX.

  No Portion of the Settlement Fund Will Return to GTL. Any money remaining in the
  Settlement Fund after paying all valid and timely claims to Settlement Class Members,
  attorneys' fees and costs to Class Counsel, any service award to Plaintiff and the costs of notice
  and administration of the settlement wi 11 be paid either: ( 1) in a second distribution to
                QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT 'VW.GTLTCPASettlement.co
                                                                                             Exhibit 1
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  Settlement Class Members who submitted valid and timely Claim Forms and whose initial
  payments were cashed; or (2) if there are not enough funds to justify a second distribution, the
  remaining funds will be donated to                              There will only be a second
  distribution if there are enough funds to pay each Settlement Class Member $ 10.00 or more
  through a second distribution. No portion of the Settlement Fund will return to GTL.




  Your share of the Settlement Fund will depend on the number of valid Claim Forms that
  Settlement Class Members submit. Class Counsel estimate that the amount of the cash award
  (while dependent upon the number of claims) may be within the range of $:XXX to $X:XX.
  T his is an estimate only. The final cash payment amount will depend on the total number
  of valid and timely claims submitted by Settlement Class Members.




  Unless you exclude yourself from the settlement, you will be part of the Settlement Class and
  will be bound by the release of claims in the settlement. This means that if the settlement is
  approved, you cannot rely on any Released Claim to sue or continue to sue, on your own or as
  part of any other lawsuit, GTL and/or any other Released Parties, as explained in the settlement
  agreement. It also means that all of the Court' s orders will apply to you and legally bind you.
  Unless you exclude yourself from the settlement, you will be releasing GTL and the Released
  Parties from all the claims described and identified in the Settlement Agreement. The
  Settlement Agreement is available at www.GTLTCPASettlement.com. The Settlement
  Agreement provides more detail regarding the release and describes the released claims with
  specific descriptions in necessary, accurate legal terminology, so read it carefully. Unless you
  exclude yourself from the settlement, you will agree to release GTL and any other Released
  Parties, as defined in the settlement agreement, from any and all claims that arise from the
  automated and prerecorded calls to your cellular telephone at issue in this action.

  In summary, the Release covers any and all claims as of the date of the Final Approval Order
  that arise out of or relate in any way to the Released Parties' contact or attempt to contact
  settlement class members in connection with automatically dialed and/or prerecorded calls to
  cellular telephones, including, but not limited to, claims under or for a violation of the TCPA
  and any other statutory or common law claim arising under the TCPA as relative to
  automatically dialed and/or prerecorded calls to cellular telephones (collectively, the "Released
  Claims").

  "Released Parties" means and refers to the Defendant Global Tel*Link Corporation and each
  and all of subsidiaries, parent companies, agents, predecessors in interest and/or ownership,
  successors in interest and/or ownership, partners, licensees, assignees, insurers, including claims
  under any and all insurance policies, and estates, and each of the foregoing' s respective past,
  present, and future officers, directors, attorneys, shareholders, indemnitees, predecessors,
  successors, trusts, trustees, partners, associates, principals, divisions, employees, insurers, any
  and all insurance policies, members, agents, representatives, brokers, consultants, heirs, and
  assigns.


                QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
                                                                                              Exhibit 1
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  If you have any questions about the Release or what it means, you can speak to Class Counsel,
  listed under Question 6, for free, or you can, at your own expense, talk to your own lawyer. The
  Release does not apply to persons in the Settlement Class who timely exclude themselves or
  who are not Settlement Class Members.

                                HOW TO OBTAIN A PAYMENT




  To receive a payment, you must submit a Claim Form either online via the Settlement Website,
  via tbe Toll-Free Settlement Hotline, or by mail. If you are submitting your claim via tbe
  Settlement Website or the Toll Free Settlement Hotline, it must be submitted no later than
    xxxx XX, 2017. If you are mailing your Claim Form to the claims administrator, it must be
  postmarked by that date.

  You may get a Claim Form on the Settlement Website, www.GTLTCPASettlement.com, or by
  calling the Toll-Free Settlement Hotline,             . Read the instructions carefully, fill
  out the form completely and accurately, sign it and submit it.

  To be valid, the Claim Form must be contain (1) either a valid Claim ID or a telephone number
  on the Settlement Class List or telephone records establishing receipt of a Notification Call; (2)
  the Settlement Class Member' s full name, mailing address, and e-mail address (if he or she has
  one); (3) for mailed Claim Forms, the Settlement Class Member's signature; (4) for Claim
  Forms submitted via the Settlement Website, the Settlement Class Member' s electronic
  signature and an affirmation that all information contained in the Claim Form is true and
  accurate; and (5) for Claim Forms submitted via 800 number, an affirmation that by pressing
  " 1" all information recited after the Claim ID is entered is true and accurate.

  If you do not have a Claim ID and your telephone number is not on the Settlement Class List,
  you must submit a Claim Form by mail and attach telephone records establishing receipt of a
  Notification Call.

  Any person who submits a Claim Form and is unable to provide one of the following, (i) a valid
  Claim ID, (ii) a telephone number on the Settlement Class List or (iii) telephone records
  establishing receipt of a Notification Call, shall not be a Settlement Class Member.

  A Claim Form may be submitted by mail to the claims administrator at: GTL Telephone
  Consumer Protection Act Litigation., c/o                         or via the Settlement
  Website [click here].


                 WHEN WILL I RECEIVE MY SETTLEMENT PAYMENT?




  The Court will hold a hearing on Xxxxx XX, 201 7 to decide whether to approve the settlement.

                QUESTIONS? CALL 1-            TOLL-FREE, OR VISIT ' ....GTLTCPASettlement.co
                                                                                               Exhibit 1
  The hearing may be moved to a different date or time without additional notice, so it is a good

                                                                                                Page 96
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  idea to check the Settlement Website at www.GTLTCPASettlement.com for updates. If the
  Court approves the settlement, after that, there may be appeals. It is always uncertain whether
  these appeals can be resolved, and resolving them can take time, perhaps more than a year.
  Everyone who sends in a Claim Form will be informed of the rogress of the settlement through
  information posted on the Settlement Website at www.GTLTCPASettlement.com. Please be
  patient.

                EXCLUDING YOURSELF FROM THE SETTLEMENT




  If you want to exclude yourself from the Settlement, then you must take steps to get out of the
  Settlement Class. This is called excluding yourself from, or opting-out of, the Settlement Class.

  To be valid, you must mail your exclusion request postmarked no later than Xxxxxx XX,
  ~017 to the claims administrator at GTL Telephone Consumer Protection Act Litigation,
  c/o
     -----------------------
  Exclusion requests must (i) be signed by the person in the Settlement Class who is requesting
  exclusion; (ii) include the full name and address of the person in the Settlement Class requesting
  exclusion; (iii) include the mobile telephone number on which the person seeking exclusion
  received the call or calls associated with the request for exclusion, and (iv) include the
  following statement: "I request to be excluded from the settlement in the GTL TCPA action,
  and to waive all rights to the benefits of the settlement." No request for exclusion will be valid
  unless all of the information described above is included. No person in the Settlement Class, or
  any person acting on behalf of or in concert or participation with that person in the Settlement
  Class, may exclude any other person in the Settlement Class from the Settlement Class.




  No. If you do not exclude yourself, you give up any right to sue (or continue to sue) GTL or
  any Released Parties for the claims that this settlement resolves.



  No. If you ask to be excluded, you will not be able to submit a Claim Form for a settlement
  payment and you cannot object to the settlement.

                           OBJECTING TO THE SETTLEMENT




  If you are a Settlement Class Member, you can object to the settlement or any part of the
  settlement. If you do not provide a written objection in the manner described below, you shall
  be deemed to have waived any objection and shall forever be foreclosed from making any
  objection to the fairness, reasonableness, or adequacy of the settlement or the award of any
  attorneys' fees and costs and/or service award.
                QUESTIONS? CALL 1-            TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
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  To object, you must file your objections with the Court no later than Xxxxxx XX, 2017and
  mail your objections to the addresses below postmarked by that date.

  For Plaintiff:                                    ForGTL:

  Timothy J. Sostrin, Esq.                          Robert J. Herrington
  Keogh Law, Ltd.                                   GREENBERG TRAURIG, LLP
  55 Monroe St., 3390                               1840 Century Park East, Suite 1900
  Chicago, TL 60603                                 Los Angeles, CA 90067

  An objection must:
       (A)     Attach documents establishing, or provide information sufficient to allow the
       Parties to confirm, that the objector is a Settlement Class Member, including
       providing providing a valid Claim ID or a telephone number on the Settlement Class
       List or telephone records establishing receipt of a Notification Call, , full name,
       address, the mobile telephone number called, and whether he or she intends to appear
       at the Final Approval Hearing on his or her own behalf or through counsel;
       (B)     Include a statement of such Settlement Class Member's specific objections;
       and
        (C)    State the grounds for objection and attach any documents supporting the
       objection.

  Any person who submits an Objection and is unable to provide one of the following, (i) a
  valid Claim ID, (ii) a telephone number on the Settlement Class List or (iii) telephone
  records establishing receipt of a Notification Call, shall not be a Settlement Class Member.

  You may, but do not have to, appear the Final Approval Hearing. If you or your attorney
  intend to make an appearance at the Final Approval Hearing, you must: (i) file a notice of
  appearance with the Court no later than twenty (20) days prior to the Final Approval
  Hearing, or as the Court may otherwise direct; and (ii) serve a copy of such notice of
  appearance on all counsel for all Parties.

  Even if you timely and properly object, you must submit a Claim Form to obtain a
  benefit from this settlement. If you object but fail to submit a Claim Form, you will not
  receive any monetary award.




  Objecting is telling the Court that you do not like something about the settlement. You can
  object only if you stay in the Settlement Class. Excluding yourself means that you do not want
  to be part of the Settlement Class. If you exclude yourself, you have no basis to object because
  the case no longer affects you.

                                     IF YOU DO NOTHING
                   QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
                                                                                            Exhibit 1
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  If you do nothing, you will not receive any monetary award and you will give up your rights to
  sue GTL and/or any other Released Parties on a Released Claim. For information relating to
  what rights you are giving up, see Question 10.

                              THE FINAL APPROVAL HEARING



  The Court will hold a Final Approval Hearing at ;xx:OO a.m. on Xxxxx XX, 201 7 at the United
  States District Court for the Central District of California~ 350 W. 1st Street, Courtroom SD,
  Los Angeles, CA, 90012. The hearing may be moved to a different date or time without
  additional notice, so it is a good idea to check the Settlement Website at
  www.GTLTCPASettlement.co for updates. At this hearing, the Court will consider whether
  the settlement is fair, reasonable and adequate. If there are valid objections that comply with the
  requirements in the Settlement Agreement, the Court also will consider them and will listen to
  people who have asked to speak at the hearing and filed the appropriate notice of appearance by
  the deadline for doing so. The Court may also consider the requests by Class Counsel for
  attorneys' fees and expenses and for the Service Award to Class Plaintiff.




  No. Class Counsel will appear on behalf of the Settlement Class. But, you are welcome to
  come, or have your own lawyer appear, at your own expense. If you or your attorney intend to
  make an appearance at the Final Approval Hearing, you must: (i) file a notice of appearance
  with the Court no later than twenty (20) days prior to the Final Approval Hearing, or as the
  Court may otherwise direct; and (ii) serve a copy of such notice of appearance on all counsel for
  all Parties.



  You may ask the Court for permission to speak at the Final Approval Hearing, but only in
  connection with an objection that you have timely submitted to the Court according to the
  procedure set forth in Question 16 above. To speak at the Final Approval Hearing, you must
  also file a document with the Court stating your intention to appear. For this document to be
  considered, it must include your name, address, telephone number and your signature. The
  document must be filed with the Court no later than _ _20 days rior to Final A roval
    eanng_. You cannot speak at the hearing if you exclude yourself from the settlement.

                            GETTING MORE INFORMATION



  This notice is only a summary of the proposed settlement. You can get a COJ?Y of the settlement
  agreement by visiting the Settlement Website, www.gtlTCPASettlement.com, or you can write
                QUESTIONS? CALL 1-_ _ _ _ TOLL-FREE, OR VISIT 'vw.GTLTCPASettlement.co
                                                                                              Exhibit 1
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  to the address below or call the Toll-Free Settlement Hotline,              . You can also
  contact class counsel with any questions at 866.726. 1092 or TCPAsettlement@keoghlaw.com

  DO NOT CALL OR WRITE TO THE COURT, THE CLERK OF THE COURT, GTL
  OR GTL'S COUNSEL ABOUT THE SETTLEMENT.        ALSO, TELEPHONE
  REPRESENTATIVES WHO ANSWER CALLS MADE TO THE TOLL-FREE
  NUMBER ARE NOT AUTHORIZED TO CHANGE THE TERMS OF THE
  SETTLEMENT OR TIDS NOTICE.




               QUESTIONS? CALL 1-_ _ _ TOLL-FREE, OR VISIT www.GTLTCPASettlement.co
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                                  EXHIBIT 6


                           INTERNET PUBLICATION




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